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15
     Attorneys for Plaintiffs OPEN TEXT CORPORATION, OPEN TEXT SA ULC, and
16
     OPEN TEXT HOLDINGS INC.
17
                         UNITED STATES DISTRICT COURT
18
                       CENTRAL DISTRICT OF CALIFORNIA
19
20                         SOUTHERN DIVISION
     OPEN TEXT CORPORATION,
21   OPEN TEXT SA ULC, and        Case No. ________
22   OPEN TEXT HOLDINGS INC.,
                                  COMPLAINT FOR PATENT
23            Plaintiffs,         INFRINGEMENT
24
           v.                                JURY TRIAL DEMANDED
25
     HYLAND SOFTWARE, INC.,
26
27               Defendant.
28

                              COMPLAINT FOR PATENT INFRINGEMENT
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 1         Plaintiffs Open Text Corporation, Open Text SA ULC, and Open Text Holdings
 2   Inc., (collectively “Plaintiffs”) allege against Defendant Hyland Software, Inc.
 3   (“Hyland” or “Defendant”) as follows:
 4         1.     OpenText Corporation provides information management solutions that
 5   allow companies to organize and manage content, operate more efficiently, increase
 6   engagement with customers, collaborate with business partners, and address regulatory
 7   and business requirements.
 8         2.     OpenText Corporation provides such solutions by distributing software
 9   products and providing customer support and professional services through a number
10   of subsidiaries, including Open Text, Inc., which sells OpenText software and services
11   in the United States.
12         3.     The OpenText family of companies (collectively “OpenText”) has
13   approximately 15,000 employees, more than 74,000 customers, and over $3.11 billion
14   in annual revenues. OpenText invested approximately $1 billion on research and
15   development over the three years ending June 30, 2020.
16         4.     Gartner’s Magic Quadrant report for 2019, published October 30, 2019,
17   named OpenText a “Leader” in Content Services Platforms. And Gartner’s 2019
18   Market Share Analysis, published July 24, 2020, ranked OpenText one of the “Top Five
19   Content Services Providers, Worldwide” in 2019; in particular, OpenText was ranked
20   first for “Content Services Platforms.”
21         5.     OpenText currently maintains three offices in the State of California, one
22   of which is located in this judicial district, including the Pasadena office at 1055 E.
23   Colorado Blvd., Pasadena, California 91106-2375.
24         6.     OpenText tracks its business through four revenue streams: license,
25   customer support, cloud services, and professional services. (Exhibit A at 9-10 (Aug.
26   6, 2020 10-K).)     OpenText receives license revenue from its software products;
27   customer support revenue from renewable support and maintenance OpenText provides
28   to customers who have purchased its products; cloud services revenue from certain
                                                1
                         FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   “managed hosting” services arrangements; and professional services revenue from
 2   consulting fees OpenText collects for providing implementation, training, and
 3   integration services related to OpenText’s product offerings.
 4         7.     On or about September 9, 2020, Hyland entered into an agreement to
 5   acquire another of OpenText’s competitors, Alfresco. (Exhibit B (2020.09.09 - Hyland
 6   enters definitive agreement to acquire Alfresco, hyland.com).) According to the press
 7   release, Alfresco is “the leading open source content services and solutions provider for
 8   information-rich enterprises with huge volumes of unstructured content.” (Exhibit B
 9   (2020.09.09 - Hyland enters definitive agreement to acquire Alfresco, hyland.com).)
10         8.     On or about October 22, 2020, Hyland’s acquisition of Alfresco was
11   completed.    (Exhibit C (2020.10.22 - Hyland completes acquisition of Alfresco,
12   alfresco.com).) According to the Alfresco press release, “[t]he acquisition [of Alfresco]
13   furthers Hyland’s vision to become the world’s leading content services provider,
14   expanding its global footprint with additional customers, partners and employees with
15   extensive industry experience.” (Exhibit C (2020.10.22 - Hyland completes acquisition
16   of Alfresco, alfresco.com).) Further, the press release states that “[t]he addition of
17   Alfresco’s solutions augments Hyland’s range of content services offerings and
18   provides new opportunities to engage with the open-source community for product
19   innovation.” (Exhibit C (2020.10.22 - Hyland completes acquisition of Alfresco,
20   alfresco.com).)
21         9.     On December 2, 2020, Hyland announced that “Hyland and its new
22   acquisition, Alfresco were both named Leaders in the Gartner 2020 Magic Quadrant for
23   Content Services Platforms.” (Exhibit D (2020.12.02 - Hyland and Alfresco named
24   Leaders in Content Services GMQ, hyland.com).) As shown in the Gartner 2020 Magic
25   Quadrant for Content Services Platforms report, both Alfresco and Hyland compete
26   directly with OpenText and the combination of Alfresco and Hyland represents a clear
27   and emergent competitive threat to OpenText’s business, perpetuated by infringement
28   of OpenText’s intellectual property by Alfresco and Hyland:
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                                COMPLAINT FOR PATENT INFRINGEMENT
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23   (Exhibit E at 3 (2020.11.16 - Gartner Content Services Report 2020).)
24         10.    Hyland competes directly with OpenText in the Enterprise Content
25   Management (ECM) and Enterprise Information Management (EIM) markets, as well
26   as related products and services, by its manufacture, use, sale, and offer for sale of the
27   Alfresco ECM platform (such as the Alfresco Content Services) and integrated
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                                                 3
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   applications and features such as Alfresco Transformation Services and Application
 2   Development Framework, which infringe OpenText’s intellectual property rights.
 3   (Exhibit F [Forrester Wave™- ECM Content Platforms, Q3 2019_24july2019] at 4.)
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20         11.    Plaintiffs bring this lawsuit to protect its intellectual property investments
21   and to hold Hyland accountable for its infringement. As a result of Hyland’s unlawful
22   competition in this judicial district and elsewhere in the United States, Plaintiffs have
23   lost sales and profits and suffered irreparable harm, including lost market share and
24   goodwill.
25                                 NATURE OF THE CASE
26         12.    Plaintiffs bring claims under the patent laws of the United States,
27   35 U.S.C. § 1, et seq., for the infringement of United States Patent Nos. 9,047,146;
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                                                 4
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   8,380,830; 9,813,381; 9,170,786; 10,540,150; and 9,189,761 (collectively, the “Patents-
 2   in-Suit”).
 3                                       THE PARTIES
 4         13.    Plaintiff OpenText Corporation is a Canadian corporation with its principal
 5   place of business at 275 Frank Tompa Drive, Waterloo, Ontario, Canada.
 6         14.    Plaintiff Open Text SA ULC is a Canadian corporation with its principal
 7   place of business at 1959 Upper Water St., Halifax, Nova Scotia, Canada.
 8         15.    Plaintiff Open Text Holdings Inc., is a Delaware corporation with its
 9   principal place of business at 275 Frank Tompa Drive, Waterloo, Ontario, Canada.
10         16.    Defendant Hyland Software, Inc. is a corporation with its global
11   headquarters at 28500 Clemens Road, Westlake, Ohio 44145, with multiple other
12   offices within the U.S. and elsewhere, including an office in this District in Irvine,
13   California, located at 2355 Main Street, Suite 100, Irvine, California 92614.
14                                JURISDICTION & VENUE
15         17.    This action arises under the Patent Laws of the United States, 35 U.S.C.
16   § 1 et seq. The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
17   1338(a).
18         18.    This Court has personal jurisdiction over Hyland because it regularly
19   conducts business in the State of California and in this district, including operating
20   systems and/or providing services in California and in this district that infringe one or
21   more claims of the Patents-in-Suit in this forum. Hyland has, either directly or through
22   intermediaries, purposefully and voluntarily placed its infringing products and/or
23   services into the stream of commerce with the intention and expectation that they will
24   be purchased and used by customers in this District, as detailed below.
25         19.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)
26   and (c) and 28 U.S.C. § 1400(b) because, upon information and belief, Hyland regularly
27   conducts business within this District, has a regular and established place of business in
28   this District, and has committed acts of infringement within this District. In addition,
                                                 5
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   on information and belief, as a foreign corporation with sufficient contacts with this
 2   District, venue is proper against Hyland in this District.
 3         20.      Hyland Software, Inc. is a registered business in California. (Exhibit N.)
 4         21.      On information and belief, Hyland has a regular and established place of
 5   business at 2355 Main Street, Suite 100, Irvine, California 92614. (Exhibit O.)
 6         22.      On information and belief, Hyland has employees in this district, including
 7   at least 60 employees at Hyland’s Irvine, California location.
 8         23.      Hyland sells and/or offers for sale its infringing ECM platform, software
 9   and services, including Alfresco Content Services, Alfresco Transformation Services,
10   and Alfresco Development Framework, as well as related products and modules
11   (hereinafter       “Accused        Products”),      through       its      websites         -
12   https://docs.alfresco.com/content-services/6.1/,     https://docs.alfresco.com/transform-
13   service/latest/, and https://www.alfresco.com/ecm-software/application-development-
14   framework, which may be accessed by customers within this district.
15         24.      On information and belief, Hyland sells and/or offers for sale the Accused
16   Products and related software and services to customers located in this district.
17         25.      As further detailed below, Hyland’s use, provision of, installation,
18   configuration, offer for sale, sales, and advertising of the Accused Products within this
19   judicial district infringe the Patents-in-Suit. Hyland’s customers infringe the Patents-
20   in-Suit at least by using the Accused Products within this judicial district.
21         26.      Because Hyland actively targets customers served by OpenText and the
22   OpenText office in Pasadena, California, Hyland’s infringement adversely impacts the
23   over 187 OpenText employees who live and work in and around this judicial district.
24                                  THE PATENTS-IN-SUIT
25            U.S. Patent Nos. 9,047,146 (’146 Patent) and 8,380,830 (’830 Patent)
26         27.      The ’146 and ’830 Patents are part of the same patent family and are
27   generally directed to “system[s] and method[s] for processing an input data stream in a
28   first data format of a plurality of first data formats to an output data stream in a second
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   data format of a plurality of second data formats.” (’146 Patent, Abstract.) Plaintiff
 2   Open Text SA ULC owns by assignment the entire right, title, and interest in and to the
 3   ’146 and ’830 Patents.
 4         28.    The ’146 Patent is entitled “Method and system for transforming input data
 5   streams,” was filed on January 18, 2013, claims priority to an application filed on June
 6   28, 2002, and was duly and legally issued by the USPTO on June 2, 2015. A true and
 7   correct copy of the ’146 Patent is attached as Exhibit G.
 8         29.    The ’830 Patent, also entitled “Method and system for transforming input
 9   data streams,” was filed on April 22, 2011, claims priority to an application filed on
10   June 28, 2002, and was duly and legally issued by the USPTO on February 19, 2013. A
11   true and correct copy of the ’830 Patent is attached as Exhibit H.
12         30.    At the time of the priority date of the ’146 and ’830 patents, businesses
13   communications were becoming more complex, with different companies and business
14   partners communicating using different means and different document formats,
15   including electronic documents (such as .pdfs, .text, .html). (’146 Patent, 30-45.) The
16   inventors recognized the problems associated with having multiple different document
17   formats that needed to be compatible with different software programs and had to be
18   compiled into usable formats for various purposes. However, given the volume of data
19   and the various sources of the documents, such transformation could be time and
20   resource intensive. Thus, the inventors discovered specific technical improvements to
21   improve the operation and efficiency of the transformation process.
22         31.    For example, in some embodiments, an agent can scan the input stream
23   corresponding to a file from a business application and identify fields in the input data
24   stream. (See ’146 Patent, 4:51-5:45 and 7:47-58.) Fields from the event can be placed
25   in a message structured according to a message tree built using the fields, blocks and
26   variables. (See ’146 Patent, 4:51-5:45). This can be repeated for each event identified
27   in the input data stream. A process corresponding to the event can be applied to
28   transform the messages containing the text from the events and structured according to
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   the generic data structure to produce an output. (See ’146 Patent, 4:51-5:45 and 7:47-
 2   58.) For example, a process can be applied to transform messages containing text from
 3   the events into “a document for printing, faxing, .pdf, web, etc.” (See ’146 Patent, 6:61-
 4   7:3.)
 5           32.   The inventors found that this event driven approach, using a processing
 6   thread, enabled the efficient detection of patterns in the input files. For example, the
 7   inventors found that by identifying events, and then creating messages using a generic
 8   structure for each event, each thread could process part of the process to transform the
 9   input document into a different format. Moreover, each thread can be processed in
10   parallel with other threads. In this way, embodiments disclosed and claimed provided
11   advantages over conventional techniques, including increase in performance and
12   providing support for parallel job execution. This system architecture also offers better
13   scalability for multi-processor systems. All threads are connected to queues and/or
14   connectors, enabling extremely flexible configuration. Several job threads can serve
15   one or several queues and several input connectors can use one or several queues and
16   job threads. (’146 Patent, 3:32-38.) Accordingly, the specific technical solution
17   described and claimed in the ‘830 and ‘146 Patents also improves the functionality of
18   existing computer systems.
19                                   U.S. Patent No. 9,813,381
20           33.    The ’381 Patent is entitled “Flexible and secure transformation of data
21   using stream pipes,” was filed on May 1, 2015, claims priority to a provisional
22   application filed on June 18, 2014, and was duly and legally issued by the USPTO on
23   November 7, 2017. Plaintiff Open Text SA ULC owns by assignment the entire right,
24   title, and interest in and to the ’381 Patent. A true and correct copy of the ’381 Patent is
25   attached as Exhibit I.
26           34.   The ’381 patent is generally directed to systems and methods that provide
27   “a transformation pipeline [that] may be created to efficiently transform file data one
28   unit at a time in memory.” (’381, Abstract.) In some embodiments, a process uses read
                                                  8
                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   and write methods to move the unit of data into and out of processing streams and calls
 2   the appropriate transformation engine(s), and transformation. For example, the write
 3   method may move a unit of data, for instance, from a memory buffer into an associated
 4   stream. The read method may read the unit of data from the stream, call an associated
 5   transformation, and pass the unit of data thus transformed to the next stream or a
 6   destination. This process is repeated until all desired and/ or required transformations
 7   such as compression, encryption, tamper protection, conversion, etc. are applied to the
 8   unit of data. (’381, Abstract.)
 9           35.   The ’381 Patent describes and claims inventive and patentable subject
10   matter that significantly improves on traditional data management and data processing
11   systems. The ‘381 patent was developed in the context that “an increasing amount of
12   data is stored and communicated in electronic format” and “in many cases, data may
13   exist only in electronic form, making access and security considerations for such data
14   important—inasmuch as the data may not be readily accessed or protected in any other
15   manner.” (‘381 patent, 1:28-32) Electronic data tends to have the following
16   characteristics, including volume, variety, velocity, variability, veracity, and
17   complexity. (‘381 patent, 2:1-22.) The inventors recognized that “[i]n view of the
18   growth trend toward increasingly large and complex data sets, conventional data
19   management and data processing systems and methods are strained and, in some cases,
20   unequal to the task. Challenges include analysis, capture, curation, search, sharing,
21   security, storage, transfer, visualization, and information privacy.” (‘381 patent, 1:63-
22   2:1.)
23           36.   The ‘381 Patent provided technical improvements over conventional data
24   management and data processing systems and methods by solving technical problems
25   experienced by these systems and methods. For example, embodiments of the claimed
26   invention in the ‘381 patent can achieve flexible and secure transformations of streamed
27   data without requiring streamed data to be written to interim persistent storage. (‘381
28   patent, 1:17-24)
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1         37.    In some embodiments, in response to a request to read or write a file, a
 2   transformation pipeline is created that “allows read or write methods to be called on
 3   each stream such that the results of each read operation from each stream class is passed
 4   as input to the next stream class in the transformation pipeline.” (‘381 patent, 8:46-65.)
 5   The transformation pipeline can be created by, e.g., “instantiating a stream object for
 6   each stream class of the multiple stream classes,” and “[e]ach stream object may include
 7   a write method for moving a unit of data into the associated stream and a read method
 8   for retrieving the unit of data from the associated stream, calling an associated
 9   transformation function (e.g., compression, encryption, tamper protection, conversion,
10   encoding, transcoding, etc.), and providing the unit of data thus transformed within the
11   associated stream to the next stream or, if no more transformation streams in the
12   transformation pipeline, to a destination device.” Id.
13         38.    One technical benefit of the specific technical solutions described and
14   claimed in the ‘381 patent is “the ability to engage flexible and secure data stream
15   processing with substantially reduced persistent data storage requirements.” (‘381
16   patent, 10:30-38) In modern computing devices, “accessing persistent storage is
17   typically the most time-intensive operation.” Therefore, technical solutions in the ‘381
18   Patent can realize “a substantial reduction in the amount of time required to engage,
19   process and manage secure data communication” compared with conventional systems.
20   Id.
21         39.    Thus, the ’381 Patent describes and claims systems and methods that
22   provide technical advantages and improvements over traditional conventional data
23   management and data processing systems and methods, including the ability to achieve
24   flexible and secure transformations of streamed data without requiring streamed data to
25   be written to interim persistent storage.
26                         U.S. Patent Nos. 9,170,786 and 10,540,150
27         40.     The ’786 and ’150 Patents are part of the same patent family and are
28   generally directed to “developer-composed context menus, e.g., composed by a
                                                 10
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   developer in connection with use of a software development tool to create an
 2   application.” Plaintiff OpenText Corporation owns by assignment the entire right, title,
 3   and interest in and to the ’786 and ’150 Patents.
 4         41.    The ’786 Patent is entitled “Composable Context Menus,” was filed on
 5   December 20, 2013, and was duly and legally issued by the USPTO on October 27,
 6   2015. A true and correct copy of the ’786 Patent is attached as Exhibit J.
 7         42.    The ’150 Patent, also entitled “Composable Context Menus,” was filed on
 8   September 1, 2015, and was duly and legally issued by the USPTO on January 21, 2020.
 9   The ’150 Patent claims priority to the ’786 Patent. A true and correct copy of the ’150
10   Patent is attached as Exhibit K.
11         43.    The ’150 and ’786 Patents describe and claim inventive and patentable
12   subject matter that significantly improves on traditional application development tools
13   used to build context menus for software applications, as well as the graphical user
14   interface (“UI”) provided to a user. “‘Context’ or “‘contextual menus’ enable a user-
15   selectable set of contextually-relevant options to be displayed in an application or other
16   user interface.” (’786 Patent, 1:11-13.) For example, “if a user enters a ‘right click’ or
17   other prescribed input while a mouse of other cursor is “hovering over an object
18   displayed on an application page, a context menu comprising a list of actions considered
19   to be potentially desired to be performed by the user with respect to the hovered-over
20   object may be displayed. The set of options may be determined at least in part by
21   application context data.” (’786 Patent, 1:13-121.)
22         44.    The ’150 and ’786 Patents provided technical improvements over
23   conventional application development tools by solving technical problems experienced
24   by application UI developers and improving the development tools as well as the UI.
25   Unlike conventional application development tools, which limited developers’ ability
26   to “define context menus to a predefined set,” the ’150 and ’786 Patents describe and
27   claim a development framework that enables developers to create dynamic context
28   menus whose visual features, display data, responsive actions, etc. can be updated or
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   changed during application execution. (Exhibit J, ’786 Patent, 1:22-28, 2:21-45; Exhibit
 2   K, ’150 Patent, 1:30-36, 2:27-54.). Rather than embedding pre-fabricated and static
 3   context menus into their applications, the application development framework enabled
 4   by these patents permits developers to create dynamic context menus whose features
 5   can be filled in, and swapped out, at runtime, i.e. during the execution of the application.
 6         45.    The inventors found that dynamic context menus provided a number of
 7   technical advantages. For example, enabling the context menu to update during
 8   execution of the application page enabled more flexibility in providing context specific
 9   displays and actions, thereby providing additional functionality to a user and
10   performance of the application. Whereas fixed context menus would only be able to
11   provide a set of functions that would have to be applicable across any application,
12   thereby limiting the functionality to generic and widely applicable options, dynamic
13   context menus provided flexibility to customize the displayed data and corresponding
14   actions to the particular context of not only the application, but the specific portion of
15   the application the user was interacting with at the time. This greatly improved the
16   functionality of the interface.
17         46.    Embodiments also disclose and claim the use of “invisible objects,” such
18   as an invisible “container” for the context menu. As explained above, the inventors
19   found that these invisible objects enable the menu to be dynamically “updated during
20   execution of the application page” and have both visual features and display data that
21   can be changed “at runtime, e.g. at context menu display time,” on the basis of what the
22   application is doing or what the user does. (See Exhibit J, ’786 Patent, 3:58-4:9; Exhibit
23   K, ’150 Patent, 3:66-4:17). Moreover, these invisible objects provide additional
24   potential advantages (including an improved UI), such as providing more efficient UI
25   (e.g., by not obscuring other content on the interface for the application), containing the
26   data and actions in an efficient container, and providing customizable and/or dynamic
27   content menu options.
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1         47.    Thus, the ’786 and ’150 Patents describe and claim systems and methods
 2   that provide technical advantages and improvements over traditional application
 3   development tools, including the ability to generate highly dynamic context menus
 4   whose features and display data can be swapped in and out during application execution
 5   through the use of “invisible” objects.
 6         48.    Applicant further explained during prosecution that the creation of an
 7   “invisible object” that “provides, to the context menu, information with which the
 8   context menu is updated during execution of the application page” is an unconventional
 9   step in the area of application development frameworks and entirely absent from the
10   prior art. (See Exhibit M, March 16, 2015 Applicant Remarks, at 7 (emphasis added)).
11         49.    In response to that argument, the Examiner withdrew a rejection based on
12   35 U.S.C. §101 and §102 and allowed the patent to issue. As recognized by the USPTO
13   Examiner, the claimed inventions of the ’786 and ’150 Patents provide a technical
14   solution to the technical problem of generating dynamic context menus whose features
15   can be swapped in, and swapped out, during application execution.
16                                  U.S. Patent No. 9,189,761
17         50.      The ’381 Patent is entitled “Action flow client framework,” was filed on
18   May 17, 2012, and was duly and legally issued by the USPTO on November 17, 2015.
19   Plaintiff Open Text Corporation owns by assignment the entire right, title, and interest
20   in and to the ’761 Patent. A true and correct copy of the ’761 Patent is attached as
21   Exhibit L.
22         51.    The ’381 patent is generally directed to systems and methods to
23   implementing interface control(s) associated with declaratively defining an action flow
24   are provided; the action flow includes a desired outcome of an action flow. Information
25   associated with a user interface page is received; this information includes a state during
26   which the user interface page is displayed. Information associated with a business
27   service associated with a content management server is received; that information
28   includes a state during which the business service is performed on the content
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   management server. In the action flow definition, a first association between the user
 2   interface page and the state during which the user interface page is displayed and a
 3   second association between the business service and the state during which the business
 4   service is invoked on the content management server are recorded.
 5         52.    The ’761 Patent describes and claims inventive and patentable subject
 6   matter that significantly improves on traditional content management applications. The
 7   Inventors of the ‘761 Patent recognized that it is desirable for content management
 8   applications of a company “to have channels by which information can be exchanged
 9   with people who are not employees of [the] company, for example customers of a bank
10   who want to apply for a loan.” (‘761 patent, 1:24-34) The inventors also recognized that
11   it is further desirable for content management applications to allow customers to create
12   an action flow, such as a web-based loan application, which “offers advantages during
13   the design phase (e.g., when a loan application is created or updated) and/or at run time
14   (e.g., when an applicant accesses a loan application).” Id.
15         53.    The ‘761 Patent provided specific technical solutions to the above
16   technical problems by employing action flows that are agnostic with respect to user
17   interface technology, thereby permitting “a variety of technologies to be installed on
18   client device,” such as “Sencha Ext JS, jQuery, and/or YUI.” (‘761 patent, 5:20-27.)
19   Thus, embodiments provide for improved user interfaces as well as improved design
20   tools for providing that interface.
21         54.    For example, embodiments of the ‘761 Patent employ declaratively-
22   defined action flows to realize an improved graphical user interface for customers, such
23   as loan applicants. A declaratively-defined action flow includes “a desired outcome of
24   an action flow but does not (for example) include an executable step associated with
25   achieving the desired outcome.” (‘761 patent, 4:43-67.) Instead, the “desired
26   progression or sequence of states and/or actions in an action flow may be defined
27   without limiting it or tying it to a specific underlying set of instructions, or being hard
28   coded to a specific programming language or technology.” Id. As compared with
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 1   conventional content management systems, this approach “permits non-technical users
 2   with industry-specific or company-specific expertise to construct an action flow without
 3   requiring extensive technical knowledge.” (‘761 patent, 4:43-67; 10:45-61.) In addition,
 4   “update of and/or modification to an existing action flow is made easier” as compared
 5   with systems that “have actions flows that are ‘hard coded’ or tightly coupled to a
 6   specific implementation.” Id.
 7          55.   Embodiments of the invention described and claimed in the ‘761 patent
 8   also allow the client device to perform at least part of the action flow, which in turn can
 9   produce “better user experience (e.g., not having to reload an entire page as a result of
10   having to ask a server for instruction) and/or have better performance (e.g., not affected
11   by a slow network connection and/or an overloaded server). (‘761 patent, 3:1-6; 5:1-
12   19).
13          56.   Thus, the ’381 Patent describes and claims systems and methods that
14   provide technical advantages and improvements over traditional content management
15   systems and methods, including the ability to declaratively define action flows that are
16   agnostic with respect to user interface technology.
17                                   ACCUSED PRODUCTS
18          57.   As set forth in more detail below, Hyland’s ECM Platform, and related
19   software and services, including Alfresco Content Services, Alfresco Transformation
20   Services, and Alfresco Development Framework, (https://docs.alfresco.com/content-
21   services/6.1/,      https://docs.alfresco.com/transform-service/latest/,               and
22   https://www.alfresco.com/ecm-software/application-development-framework) provide
23   platforms for enterprises and their users to store, manage, capture, and access content.
24          58.   The Accused Products also include, without limitation, systems and
25   software, and components thereof, that may operate at least in on-premise, mobile
26   device, or cloud environments.
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 1         59.    On information and belief, each of these implementations, whether
 2   accessed via computer or mobile device, operate similarly for purposes of determining
 3   infringement.
 4         60.    Plaintiffs informed Defendant of their infringement by letter dated
 5   September 2, 2022, but they continued to make, use, sell, offer to sell, and/or import
 6   into the United States the Counterclaim Accused Products, and to induce others to do
 7   so.
 8                                    FIRST CAUSE OF ACTION
 9                          (INFRINGEMENT OF THE ’146 PATENT)
10         61.    Plaintiffs reallege and incorporate the preceding paragraphs of this
11   complaint.
12         62.    Defendants have infringed and continue to infringe one or more claims of
13   the ’146 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the
14   United States and will continue to do so unless enjoined by this Court. The Accused
15   Products, including features of the Alfresco Enterprise Content Management System
16   (ECM), such as Alfresco Transform Service, as well as any other products that utilize
17   of interface with Alfresco Transform Service, at least when used for their ordinary and
18   customary purposes, practice each element of at least claim 15 of the ’146 Patent as
19   described below.
20         63.    For example, claim 15 of the ’146 patent recites:
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                 15. A method for processing a data stream in a network
22         environment, comprising:
23
                  receiving an electronic input data stream of file data at a physical
24         input over a network, wherein input data in the input data stream is of a
25         first document format;

26                in a same thread:
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 1                       detecting patterns in an input file of the input data stream to
 2                identify events;

 3                       creating a message for each identified event containing text
 4                from the event according to a generic data structure corresponding
                  to the event;
 5
 6                      executing a process configured to create output data of a
                  second format from the messages, the output data created from a
 7                processed message containing text from the processed message, the
 8                output data in a different format from the first document format; and
 9                      sending an output data stream to a destination, the output data
10                stream comprising the output data.
11
           64.    The Accused Products perform at least the method of claim 15 of the ’146
12
     Patent. To the extent the preamble is construed to be limiting, the Accused Products
13
     perform a method for processing a data stream in a network environment, as further
14
     explained below. For example, the Alfresco Transform Service converts files “from
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     their current format into other formats” in a network environment.
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22   (See https://docs.alfresco.com/transform-service/1.4/.)
23         65.    The Accused Products perform a method that further includes receiving an
24   electronic input data stream of file data at a physical input over a network, wherein
25   input data in the input data stream is of a first document format. For example, the
26   Alfresco Transform Service includes T-Engine/Transform Engines which “transforms
27   files referenced by the repository and retrieved from the shared file store.” The shared
28   file store “is used as temporary storage for the original source files (stored by the
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   repository).”
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 8   (See https://docs.alfresco.com/transform-service/1.4/.)
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     (See https://docs.alfresco.com/transform-service/1.4/admin/)
16
           66.       As an example, the Alfresco Transform Service receives a text file
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     “sourceFile” from “FileInputStream” and transforms the text file into a PDF file.
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13   (See                                     https://github.com/Alfresco/alfresco-transform-
14   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-
15   misc/alfresco-transform-
16   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
17   mer.java)
18          67.   The Accused Products perform a method that further includes in a same
19   thread: detecting patterns in an input file of the input data stream to identify events.
20   The Alfresco Transform Service includes a transform router, transform engines and
21   metadata extraction. This metadata extraction is performed in a Transform Engine (e.g.,
22   a “T-engine”). Further, a Metadata Extractor is invoked on a file (e.g., uploaded to the
23   repository) to extract properties from the files (such as the author).
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     (See https://docs.alfresco.com/transform-service/latest/admin/)
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18   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
19   points/metadata-extractors/)
20
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23
     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
24
     points/metadata-extractors/)
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 1   (See https://docs.alfresco.com/transform-service/1.4/)
 2
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 6   (See https://docs.alfresco.com/transform-service/1.4/config/)
 7         68.   In addition, the Alfresco Transform Service defines a class called
 8   “SelectingTransformer” to detect input file formats and select a registered transform
 9   engine to implement the content transformation. Within the “SelectingTransformer”
10   class, the Alfresco Transform Service also performs metadata extraction.
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27   (See https://github.com/Alfresco/alfresco-transform-

28   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-

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 1   misc/alfresco-transform-
 2   misc/src/main/java/org/alfresco/transformer/transformers/SelectingTransformer.java)
 3         69.   The Accused Products perform a method that includes creating a message
 4   for each identified event containing text from the event according to a generic data
 5   structure corresponding to the event. For example, the Alfresco Transform Service’s
 6   Metadata Extractor identifies and extracts metadata from source files, where the
 7   extracted metadata stores common properties, such as author, title, subject, etc. in a
 8   generic data structure by mapping the common properties to content model properties
 9   as name value pairs.
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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
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14   points/metadata-extractors/)

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22   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

23   points/metadata-extractors/)

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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
27
     points/metadata-extractors/)
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 5   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

 6   points/metadata-extractors/)

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11   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

12   points/metadata-extractors/)

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22   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
23   points/metadata-extractors/)
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10   (See https://docs.alfresco.com/content-services/latest/admin/metadata-extraction/)
11         70.    As another example, the Alfresco Transform Service implements
12   “buildExtractMapping” method that identifies and extracts property values from an
13   input file and store the values in “Map” data structure.
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                                COMPLAINT FOR PATENT INFRINGEMENT
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     (See https://github.com/Alfresco/alfresco-transform-
13
     core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transformer-
14
     base/src/main/java/org/alfresco/transformer/metadataExtractors/AbstractMetadataExtr
15
     actor.java)
16
           71.     In   addition, the   Alfresco Transform Service          also   implements
17
     “processTransform” method to “handle[] requests from the Transform Service via a
18
     message queue.”
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23
     (See https://docs.alfresco.com/transform-service/1.4/config/engine/)
24
25         72.     The Accused Products perform a method that includes executing a process
26   configured to create output data of a second format from the messages, the output data
27   created from a processed message containing text from the processed message, the
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                                               25
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 1   output data in a different format from the first document format. For example, the
 2   Alfresco Transform Service provides “a secure, scalable, reliable, and extensible
 3   mechanism for converting files from their current format into other formats.” The
 4   Transform Engines perform transformation for conversion of files from their current
 5   format into other format, e.g., docx to pdf, pdf to png, and docx to plain text. (See
 6   https://docs.alfresco.com/transform-service/1.4/)
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17
     (See https://docs.alfresco.com/transform-service/1.4/admin/)
18
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22   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
23   points/metadata-extractors/)
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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 9
     points/metadata-extractors/)
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12
13   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
14   points/metadata-extractors/)
15         73.   As an example, the Alfresco Transform Service implements a text to PDF
16   content transformation that creates output data of a second format (e.g., PDF) from a
17   processed message containing text from first document format (e.g., text).
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 1   (See                                    https://github.com/Alfresco/alfresco-transform-
 2   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-
 3   misc/alfresco-transform-
 4   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
 5   mer.java)
 6          74.    In addition, the Transform Engines (e.g., T-Engines) also perform
 7   metadata extraction by calling the “extractMetadata” method, where the
 8   “extractMetadata” method extracts and returns “All available metadata from the
 9   sourceFile.” “In the case of an extract, the T-Engine returns a JSON file that contains
10   name value pairs” of the extracted metadata and embeds the extracted metadata into
11   the output file.
12
13
14
     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
15
     points/metadata-extractors/)
16
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19
     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
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     points/metadata-extractors/)
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                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   (See https://github.com/Alfresco/alfresco-transform-core/blob/master/alfresco-
 2   transformer-base/src/main/java/org/alfresco/transformer/executors/Transformer.java)
 3
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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 7
     points/metadata-extractors/)
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20   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
21   points/metadata-extractors/)
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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
12
     points/metadata-extractors/#metadata-extraction-is-just-another-transform)
13
           75.    The Alfresco Transform Service implements “buildEmbedMapping”
14
     method to provide mappings of model properties to metadata and then to embed the
15
     metadata into the content of a target file.
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11   (See https://github.com/Alfresco/alfresco-transform-
12   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transformer-
13   base/src/main/java/org/alfresco/transformer/metadataExtractors/AbstractMetadataExtr
14   actor.java)
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           76.     The Accused Products perform a method that includes sending an output
24
     data stream to a destination, the output data stream comprising the output data. For
25
     example, the Alfresco Transform Service uses Shared File Store “as temporary storage
26
     for the original file (stored by the repository), intermediate files for multi-step
27
     transforms, and the final transformed target file. The target file is retrieved by the
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                                               32
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 1   repository after it’s been processed by one or more of the Transform Engines.”
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16   (See https://docs.alfresco.com/transform-service/latest/admin/)

17         77.    Each claim in the ’146 Patent recites an independent invention. Neither

18   claim 1, described above, nor any other individual claim is representative of all claims

19   in the ’146 Patent.

20         78.    There has been significant effort by Hyland to imitate OpenText’s patent-

21   protected products to compete with OpenText in the ECM and EIM markets and to

22   increase Hyland’s share of that market at the expense of OpenText’s market share. (See,

23   e.g., Exhibits 24, Exhibit B (2020.09.09 - Hyland enters definitive agreement to acquire

24   Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland completes acquisition of

25   Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and Alfresco named Leaders

26   in Content Services GMQ, hyland.com).) Hyland’s efforts have resulted in the Accused

27   Products, which infringe at least claim 1 of the ’146 patent as described above, and

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 1   those efforts would have exposed Hyland to the ’146 patent prior to the filing of the
 2   original Complaint in this action.
 3         79.    Hyland has known of the ’146 Patent since receiving a letter identifying
 4   the patent and the infringement on September 2, 2022. At the very least, Hyland has
 5   been aware of the ’146 patent and of its infringement based on the Accused Products
 6   since at least the filing and/or service of this Complaint. Further, OpenText marks its
 7   products with the ’146 patent.
 8         80.    On information and belief, at least as of the filing of the Complaint in this
 9   action, Hyland has knowingly and actively induced and is knowingly and actively
10   inducing at least its customers and partners to directly infringe at least claim 1 of the
11   ’146 patent, and has done so with specific intent to induce infringement, and/or willful
12   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
13   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
14   installing, and distributing the Accused Products in the United States. (Exhibit C
15   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
16   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
17   hyland.com).) On information and belief, those activities continue.
18         81.    On information and belief, Hyland deliberately and knowingly encourages,
19   instructs, directs, and/or requires third parties—including its partners, customers, and/or
20   end users—to use the Accused Products in a way that infringes at least claim 1 of the
21   ’146 patent as described above.
22         82.    Hyland’s partners, customers, and end users of its Accused Products
23   directly infringe at least claim 1 of the ’146 patent, at least by using Accused Products,
24   as described above.
25         83.    For example, on information and belief, Hyland knowingly and
26   intentionally shares instructions, guides, and manuals, including through its website,
27   training programs, and/or YouTube, which advertise and instruct third parties on how
28   to use the Accused Products in a way that directly infringes at least claim 1 of the ’146
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 1   patent as described above, including at least Hyland’s customers.           On further
 2   information and belief, Hyland knowingly and intentionally provides customer service
 3   or technical support to purchasers of the infringing Accused Products, which directs and
 4   encourages Hyland’s customers to use the Accused Products in a way that directly
 5   infringes at least claim 1 of the ’146 patent as described above.
 6         84.    On information and belief, the infringing actions of each customer and/or
 7   end-user of the Accused Products are attributable to Hyland.
 8         85.    On information and belief, Hyland sells and offers for sale the Accused
 9   Products and provides technical support for the installation, implementation,
10   integration, and ongoing operation of the Accused Products for each individual
11   customer.    On information and belief, each customer enters into a contractual
12   relationship with Hyland, which obligates each customer to perform certain actions as
13   a condition to use the Accused Products. Further, in order to receive the benefit of
14   Hyland’s continued technical support and its specialized knowledge and guidance of
15   the operability of the Accused Products, each customer must continue to use the
16   Accused Products in a way that infringes the ’146 patent. Further, as the entity that
17   provides installation, implementation, and integration of the Accused Products in
18   addition to ensuring the Accused Products remain operational for each customer
19   through ongoing technical support, on information and belief, Hyland establishes the
20   manner and timing of each customer’s performance of activities that infringe the ’146
21   patent.
22         86.    On information and belief, Hyland forms a joint enterprise with its
23   customers to engage in directly infringing the ’146 patent. On further information and
24   belief, Hyland together with each customer operate under a contractual agreement; have
25   a common purpose to operate the Accused Products in a way that directly infringes the
26   ’146 patent as outlined in the paragraphs above; have pecuniary interests in operating
27   the Accused Products by directly profiting from the sale and/or maintenance of the
28   Accused Products or by indirectly profiting from the increased efficiency resulting from
                                                35
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 1   use of the Accused Products; and have equal rights to a voice in the direction of the
 2   enterprise either by guiding and advising on the operation and capabilities of the
 3   Accused Products with product-specific know-how and expertise or by requesting that
 4   certain customer-specific capabilities be implemented in the Accused Products.
 5         87.    Hyland also contributes to the infringement of its partners, customers, and
 6   end-users of the Accused Products by providing within the United States or importing
 7   the Accused Products into the United States, which are for use in practicing, and under
 8   normal operation practice, methods claimed in the Asserted Patents, constituting a
 9   material part of the inventions claimed, and not a staple article or commodity of
10   commerce suitable for substantial non-infringing uses.
11         88.    Indeed, as shown above, the Accused Products have no substantial non-
12   infringing uses because the accused functionality, including the transformation of files
13   from their current format into other formats and related functionality described above,
14   is an integral part of the Accused Products and must be performed for the Accused
15   Products to perform their intended purpose. These processes are continually running
16   when the system is in use and, on information and belief, cannot be removed or disabled
17   (or, if they could, the system would no longer suitably function for its intended purpose).
18   Moreover, for the same reasons, without performing each of the steps as described and
19   shown above, or without the system and components identified above that practice the
20   ’146 patent, that functionality could not be performed.
21         89.    Additionally, the accused functionality, including the transformation of
22   files from their current format into other formats and related functionality described
23   above, itself has no substantial non-infringing uses because the components, modules
24   and methods identified above are a necessary part of that functionality. For example,
25   without the Alfresco Transformation Services, the Accused Products could not convert
26   files from one format to another, including metadata. These processes are continually
27   running when the system is in use and, on information and belief, cannot be removed
28   or disabled (or, if they could, the system would no longer function for its intended
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 1   purpose). Moreover, for the same reasons, without performing each of the steps as
 2   described and shown above, or without the system and components identified above
 3   that practice the ’146 Patent, that functionality could not be performed.
 4         90.    In addition, as shown in the detailed analysis above, the products, systems,
 5   modules, and methods provided by Hyland constitute a material part of the invention—
 6   indeed, they provide all the components, modules, and features that perform the claimed
 7   methods and systems. For example, the Accused Products and accused functionalities
 8   (including the file transformation functionality) constitute a material part of the
 9   inventions claimed because such functionality is integral to the processes identified
10   above (such as to detect “patterns in an input file of the input data stream to identify
11   events,” create “messages for each identified event containing text from the event
12   according to a generic data structure corresponding to the event,” and “create output
13   data of a second format from the messages”) as recited in the claims of the ’146 Patent.
14   None of these products are staple goods—they are sophisticated and customized ECM
15   products, methods, and systems.
16         91.    OpenText “consists of four revenue streams: license, cloud services and
17   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
18   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
19   OpenText to acquire and retain customers for its software products in a market that is
20   “highly competitive” and increasingly more competitive “as a result of ongoing
21   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
22   at 11 (Aug. 6, 2020 10-K); see also Exhibit C (2020.10.22 - Hyland completes
23   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
24   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
25   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
26   Content Services Report 2020).) OpenText is an innovator in the market and has
27   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
28   such competition. Hyland’s infringing activities have resulted and will continue to
                                                37
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 1   result in irreparable harm to OpenText because of the competitive threat that Hyland—
 2   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
 3   “highly competitive” market, and the impact that Hyland’s infringing activities have on
 4   each one of OpenText’s four revenue streams. Further, public interest factors favor
 5   OpenText as the owner and assignee of government-issued patents, including the
 6   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
 7   knowledge in exchange for the patent protection that Hyland is now infringing.
 8         92.    For past infringement, OpenText has suffered damages, including lost
 9   profits, as a result of Hyland’s infringement of the ’146 patent. Hyland is therefore
10   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
11   compensates OpenText for Hyland’s infringement, but no less than a reasonable
12   royalty.
13         93.    OpenText is entitled to a preliminary injunction to maintain the status quo
14   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
15   of OpenText’s biggest competitors (see, e.g., Exhibit B (2020.09.09 - Hyland enters
16   definitive agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland
17   completes acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and
18   Alfresco named Leaders in Content Services GMQ, hyland.com)), and is using
19   OpenText’s patented technology to compete with OpenText in the ECM and EIM
20   markets.
21         94.    For ongoing and future infringement, OpenText will continue to suffer
22   irreparable harm, including without limitation, loss of market share, customers and/or
23   convoyed sales and services which cannot be accurately quantified nor adequately
24   compensated for by money damages, unless this Court preliminarily and permanently
25   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
26   with Hyland from infringing the ’146 patent.
27         95.    In the alternative, OpenText is entitled to damages in lieu of an injunction,
28   in an amount consistent with the facts, for future infringement. Hyland’s continued
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 1   infringement, at least since it had notice of the ’146 patent, is knowing and willful.
 2   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
 3   infringement will be willful as a matter of law.
 4         96.    Hyland’s infringement is without license or other authorization.
 5         97.    This case is exceptional, entitling Plaintiffs to enhanced damages under 35
 6   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
 7   action under 35 U.S.C. § 285.
 8
                                   SECOND CAUSE OF ACTION
 9
                             (INFRINGEMENT OF THE ’830 PATENT)
10
11         98.    Plaintiffs reallege and incorporate the preceding paragraphs of this
12   complaint.
13         99.    Defendants have infringed and continue to infringe one or more claims of
14   the ’830 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the
15   United States and will continue to do so unless enjoined by this Court. The Accused
16   Products, including features of the Alfresco Enterprise Content Management System
17   (ECM) and Alfresco Content Services, such as Alfresco Transform Service, at least
18   when used for their ordinary and customary purposes, practice each element of at least
19   claim 1 of the ’830 Patent as described below.
20         100. For example, claim 1 of the ’830 patent recites:
21
22              1. A method for processing a data stream in a network environment,
           comprising:
23
24               at a server computer, creating a plurality of input threads, wherein
           each input thread of the plurality of input threads listens to a physical port
25         from which the input thread receives data;
26
                 receiving an input data stream of file data at a physical input
27         associated with a first input thread of the plurality of input threads;
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 1                producing filtered data from the input data stream by passing the
 2         input data stream through a filter associated with the first input thread;

 3                 identifying, by an agent associated with the first input thread, each
 4         event in the filtered data, wherein the agent creates a message for each
           event containing text from the event and a generic data structure
 5         corresponding to the event for a thread job manager associated with the
 6         first input thread;
 7                creating, by the thread job manager associated with the first input
 8         thread, a process for transforming the messages according to the generic
           data structure into output data, wherein
 9
10               input data in the first data stream is of a first document format and
           the output data is of a second document format;
11
12                creating an output pipeline for the process; and
13               executing the process to produce a physical output object through
14         the output pipeline.
15
           101. The Accused Products perform the method of claim 1 of the ’830 Patent.
16
     To the extent the preamble is construed to be limiting, the Accused Products perform a
17
     method for processing a data stream in a network environment, as further explained
18
     below. For example, the Alfresco Transform Service converts files “from their current
19
     format into other formats” in a network environment.
20
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25
26   (See https://docs.alfresco.com/transform-service/1.4/.)
27         102. On information and belief, the Accused Products perform a method that
28   includes at a server computer, creating a plurality of input threads, wherein each input
                                                40
                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   thread of the plurality of input threads listens to a physical port from which the input
 2   thread receives data. For example, the Alfresco Transform Service includes multiple
 3   transform routers, transformation engines and metadata extractors, wherein the
 4   transformation engines are installed for example on Window Server 2012, Window
 5   Server 2016 or Windows Server 2019. A source file is fed into the Alfresco Transform
 6   Service via a port and a proper transformer is selected to convert the source file from
 7   its current format into another format.
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14   (See https://docs.alfresco.com/transformation-engine/latest/install/)
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22
23   (See https://docs.alfresco.com/transform-service/1.4/admin/)

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12   (See         https://github.com/Alfresco/alfresco-transform-core/blob/master/alfresco-
13   transform-misc/alfresco-transform-
14
     misc/src/main/java/org/alfresco/transformer/transformers/SelectingTransformer.java)
15
16          103. The Accused Products perform a method that includes receiving an input
17   data stream of file data at a physical input associated with a first input thread of the
18
     plurality of input threads. For example, the Alfresco Transform Service includes T-
19
20   Engine/Transform Engines which “transforms files referenced by the repository and
21   retrieved from the shared file store”. The shared file store “is used as temporary storage
22
     for the original source files (stored by the repository).”
23
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28   (See https://docs.alfresco.com/transform-service/1.4/.)
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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16   (See https://docs.alfresco.com/transform-service/1.4/admin/)
17
           104. In another example, the Alfresco Transform Service receives a text file
18
19   “sourceFile” from “FileInputStream” and transforms the text file into a PDF file.

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 1   (See                                    https://github.com/Alfresco/alfresco-transform-
 2
     core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-
 3
 4   misc/alfresco-transform-
 5   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
 6
     mer.java)
 7
 8          105. As shown in the screenshot below, the Alfresco Transform Service
 9   includes a plurality of input threads associated with Transform Engines and Metadata
10
     Extractor pipelines.
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19
     (See https://docs.alfresco.com/transform-service/1.4/admin/)
20
21          106. On information and belief, the Accused Products perform a method that
22   includes producing filtered data from the input data stream by passing the input data
23   stream through a filter associated with the first input thread. For example, the Alfresco
24   Transform Service includes a transform router that filters transform options from the
25   transform requests and select the proper Transform Engine to perform the content
26   transformation.
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 8   (See https://docs.alfresco.com/transform-service/1.4/admin/)
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14   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)

15         107. In addition, the Alfresco Transform Service defines a base class
16
     “AbstractMetadataExtractor”                 which                includes               a
17
18   “<classname>_metadata_extract.properties” file that defines a filter to produce filtered

19   data (e.g., metadata) extracted from input data stream (e.g., input file). Values added in
20
     the “<classname>_metadata_extract.properties” file are extracted from the input file.
21
22   For example, “RFC822MetadataExtractor_metadata_extract.properties” file lists

23   values that are extracted from the input file, e.g., messageFrom, messageTo,
24
     messageCc, messageSubject, messageSent, messageReceived, Thread-Index, and
25
26   Message-ID.

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     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 9
10   points/metadata-extractors/#introduction)
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     (See https://github.com/Alfresco/alfresco-transform-core/blob/master/alfresco-
22
23   transform-misc/alfresco-transform-

24   misc/src/main/resources/RFC822MetadataExtractor_metadata_extract.properties)
25
           108. On information and belief, the Accused Products perform a method that
26
27   includes identifying, by an agent associated with the first input thread, each event in the

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 1   filtered data, wherein the agent creates a message for each event containing text from
 2
     the event and a generic data structure corresponding to the event for a thread job
 3
 4   manager associated with the first input thread. For example, the Alfresco Transform
 5   Service’s Metadata Extractor identifies and extracts metadata from source files, where
 6
     the extracted metadata stores common properties, such as author, title, subject, etc. in a
 7
 8   generic data structure by mapping the common properties to content model properties
 9   as name value pairs.
10
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14   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

15   points/metadata-extractors/)
16
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22
     (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
23
24   points/metadata-extractors/)
25
26
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28   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
                                                 47
                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   points/metadata-extractors/)
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 5   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 6
     points/metadata-extractors/)
 7
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11   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

12   points/metadata-extractors/)
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22   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
23
     points/metadata-extractors/)
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                               COMPLAINT FOR PATENT INFRINGEMENT
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 9   (See https://docs.alfresco.com/content-services/latest/admin/metadata-extraction/)
10
           109. In another example, the Alfresco Transform Service implements a
11
12   “buildExtractMapping” method to extract property values from an input file and store
13   the values in “Map” data structure.
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                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   (See https://github.com/Alfresco/alfresco-transform-
 2   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transformer-
 3   base/src/main/java/org/alfresco/transformer/metadataExtractors/AbstractMetadataExtr
 4   actor.java)
 5
           110. The Accused Products perform a method that includes creating, by the
 6
 7   thread job manager associated with the first input thread, a process for transforming

 8   the messages according to the generic data structure into output data. For example, the
 9
     Alfresco Transform Service provides “a secure, scalable, reliable, and extensible
10
11   mechanism for converting files from their current format into other formats.” The

12   Transform Engines perform transformation for conversion of files from their current
13
     format into other format, e.g., docx to pdf, pdf to png, and docx to plain text.
14
15
16
     (See https://docs.alfresco.com/transform-service/latest/)
17
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20
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24
25
26   (See https://docs.alfresco.com/transform-service/1.4/admin/)

27         111. As shown in the diagram below, the Alfresco Transform Service includes
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 1   a message broker “ActiveMQ” and transform routers that create processes for
 2
     identifying and extracting metadata from source files and transforming the properties
 3
 4   of the files according to the content model into target files. The message broker
 5   “ActiveMQ” builds and maintains a message queue. A “processTransform” method is
 6
     implemented in the Alfresco Transform Service to “handle[] requests from the
 7
 8   Transform Service via a message queue ”.
 9
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16
17
     (See https://docs.alfresco.com/transform-service/1.4/admin/)
18
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21
22   (See https://docs.alfresco.com/transform-service/1.4/config/engine/)
23
           112. As an example, the Transform Engines perform metadata extraction by
24
25   calling “extractMetadata” function, where the “extractMetadata” function extracts and

26   returns “ALL available metadata from the sourceFile.” “In the case of an extract, the
27
     T-Engine returns a JSON file that contains name value pairs” of the extracted
28
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 1   metadata and embeds the extracted metadata into the output data.
 2
 3
 4
 5   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 6
     points/metadata-extractors/)
 7
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11   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
12   points/metadata-extractors/)
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22
     (See https://github.com/Alfresco/alfresco-transform-core/blob/master/alfresco-
23
     transformer-base/src/main/java/org/alfresco/transformer/executors/Transformer.java)
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 1   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-
 2   points/metadata-extractors/)
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12
13
14   (See https://docs.alfresco.com/content-services/latest/develop/repo-ext-

15   points/metadata-extractors/)

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25
     (See https://docs.alfresco.com/content-services/community/develop/repo-ext-
26
     points/metadata-extractors/)
27
           113. As another example, as shown below, the Alfresco Transform Service
28
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                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   implements “buildEmbedMapping” method to provide mappings of model properties
 2
     to metadata and then to embed the metadata into the content of target file.
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     (See https://github.com/Alfresco/alfresco-transform-
23
     core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transformer-
24
     base/src/main/java/org/alfresco/transformer/metadataExtractors/AbstractMetadataExtr
25
     actor.java)
26
           114. The Accused Products perform a method wherein input data in the first
27
     data stream is of a first document format and the output data is of a second document
28
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 1   format. For example, the Alfresco Transform Service performs transformation for
 2   conversion of files from their current format into other format, e.g., docx to pdf, pdf to
 3   png, and docx to plain text.
 4
 5
     (See https://docs.alfresco.com/transform-service/latest/)
 6
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14
15   (See https://docs.alfresco.com/transform-service/latest/admin/)
16
           115. In an example implementation, the Alfresco Transform Service
17
     implements a text to PDF content transformation wherein text is the input data in the
18
     first document format and PDF is the output data in the second document format.
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     (See                                   https://github.com/Alfresco/alfresco-transform-
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26   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-

27   misc/alfresco-transform-
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 1   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
 2
     mer.java)
 3
 4         116. The Accused Products perform a method that includes creating an output
 5   pipeline for the process and executing the process to produce a physical output object
 6
     through the output pipeline. For example, the Alfresco Transform Service includes the
 7
 8   content repository (ACS) where documents and other content resides, and shared file
 9   store “used as temporary storage for the original source file (stored by the repository),
10
     intermediate files for multi-step transforms, and the final transformed target file.” The
11
12   target file is generated and sent to the ACS via an output port.
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     (See https://docs.alfresco.com/transform-service/1.4/admin/)
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     (See https://docs.alfresco.com/transform-service/1.4/admin/)
10
11         117. Each claim in the ’830 Patent recites an independent invention. Neither
12
     claim 1, described above, nor any other individual claim is representative of all claims
13
     in the ’830 Patent.
14
15         118. On information and belief, there has been significant effort by Hyland to
16   imitate OpenText’s patent-protected products to compete with OpenText in the ECM
17   and EIM markets and to increase Hyland’s share of that market at the expense of
18   OpenText’s market share. (See, e.g., Exhibit B (2020.09.09 - Hyland enters definitive
19   agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland completes
20   acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and Alfresco
21   named Leaders in Content Services GMQ, hyland.com).)            Hyland’s efforts have
22   resulted in the Accused Products, which infringe at least claim 1 of the ’830 patent as
23   described above, and those efforts would have exposed Hyland to the ’830 patent prior
24   to the filing of the original Complaint in this action.
25         119. Defendant has known of the ’830 Patent since receiving a letter identifying
26   the patent and the infringement on September 2, 2022. At the very least, Hyland has
27   been aware of the ’830 patent and of its infringement based on the Accused Products
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 1   since at least the filing and/or service of this Complaint. Further, OpenText marks its
 2   products with the ’830 patent.
 3         120. On information and belief, at least as of the filing of the Complaint in this
 4   action, Hyland has knowingly and actively induced and is knowingly and actively
 5   inducing at least its customers and partners to directly infringe at least claim 1 of the
 6   ’830 patent, and has done so with specific intent to induce infringement, and/or willful
 7   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
 8   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
 9   installing, and distributing its Accused Products in the United States. (Exhibit C
10   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
11   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
12   hyland.com).) On information and belief, those activities continue.
13         121. On information and belief, Hyland deliberately and knowingly encourages,
14   instructs, directs, and/or requires third parties—including its partners, customers, and/or
15   end users—to use the Accused Products in a way that infringes at least claim 1 of the
16   ’830 patent as described above.
17         122. Hyland’s partners, customers, and end users of its Accused Products
18   directly infringe at least claim 1 of the ’830 patent, at least by using the Accused
19   Products, as described above.
20         123. For example, on information and belief, Hyland knowingly and
21   intentionally shares instructions, guides, and manuals, including through its website,
22   training programs, and/or YouTube, which advertise and instruct third parties on how
23   to use the Accused Products in a way that directly infringes at least claim 1 of the ’830
24   patent as described above, including at least Hyland’s customers.              On further
25   information and belief, Hyland knowingly and intentionally provides customer service
26   or technical support to purchasers of the infringing Accused Products, which directs and
27   encourages Hyland’s customers to use the Accused Products in a way that directly
28   infringes at least claim 1 of the ’830 patent as described above.
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 1         124. On information and belief, the infringing actions of each customer and/or
 2   end-user of the Accused Products are attributable to Hyland.
 3         125. On information and belief, Hyland sells and offers for sale the Accused
 4   Products and provides technical support for the installation, implementation,
 5   integration, and ongoing operation of the Accused Products for each individual
 6   customer.   On information and belief, each customer enters into a contractual
 7   relationship with Hyland, which obligates each customer to perform certain actions as
 8   a condition to use the Accused Products. Further, in order to receive the benefit of
 9   Hyland’s continued technical support and its specialized knowledge and guidance of
10   the operability of the Accused Products, each customer must continue to use the
11   Accused Products in a way that infringes the ’830 patent. Further, as the entity that
12   provides installation, implementation, and integration of the Accused Products in
13   addition to ensuring the Accused Products remain operational for each customer
14   through ongoing technical support, on information and belief, Hyland establishes the
15   manner and timing of each customer’s performance of activities that infringe the ’830
16   patent.
17         126. On information and belief, Hyland forms a joint enterprise with its
18   customers to engage in directly infringing the ’830 patent. On further information and
19   belief, Hyland together with each customer operate under a contractual agreement; have
20   a common purpose to operate the Accused Products in a way that directly infringes the
21   ’830 patent as outlined in the paragraphs above; have pecuniary interests in operating
22   the Accused Products by directly profiting from the sale and/or maintenance of the
23   Accused Products or by indirectly profiting from the increased efficiency resulting from
24   use of the Accused Products; and have equal rights to a voice in the direction of the
25   enterprise either by guiding and advising on the operation and capabilities of the
26   Accused Products with product-specific know-how and expertise or by requesting that
27   certain customer-specific capabilities be implemented in the Accused Products.
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 1         127. Hyland also contributes to the infringement of its partners, customers, and
 2   end-users of the Accused Products by providing within the United States or importing
 3   the Accused Products into the United States, which are for use in practicing, and under
 4   normal operation practice, methods claimed in the Asserted Patents, constituting a
 5   material part of the inventions claimed, and not a staple article or commodity of
 6   commerce suitable for substantial non-infringing uses.
 7         128. Indeed, as shown above, the Accused Products have no substantial non-
 8   infringing uses because the accused functionality, including the transformation of files
 9   from their current format into other formats and related functionality described above,
10   is an integral part of the Accused Products and must be performed for the Accused
11   Products to perform their intended purpose. These processes are continually running
12   when the system is in use and, on information and belief, cannot be removed or disabled
13   (or, if they could, the system would no longer suitably function for its intended purpose).
14   Moreover, for the same reasons, without performing each of the steps as described and
15   shown above, or without the system and components identified above that practice the
16   ’830 patent, that functionality could not be performed.
17         129. Additionally, the accused functionality, including the transformation of
18   files from their current format into other formats and related functionality described
19   above, itself has no substantial non-infringing uses because the components, modules
20   and methods identified above are a necessary part of that functionality. For example,
21   without the Alfresco Transformation Services, the Accused Products could not convert
22   files from one format to another, including metadata. These processes are continually
23   running when the system is in use and, on information and belief, cannot be removed
24   or disabled (or, if they could, the system would no longer function for its intended
25   purpose). Moreover, for the same reasons, without performing each of the steps as
26   described and shown above, or without the system and components identified above
27   that practice the ’830 Patent, that functionality could not be performed.
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 1         130. In addition, as shown in the detailed analysis above, the products, systems,
 2   modules, and methods provided by Hyland constitute a material part of the invention—
 3   indeed, they provide all the components, modules, and features that perform the claimed
 4   methods and systems. For example, the Accused Products and accused functionalities
 5   (including the file transformation functionality) constitute a material part of the
 6   inventions claimed because such functionality is integral to the processes identified
 7   above (such as to “creating a plurality of input threads,” “producing filtered data,”
 8   identifying “each event in the filtered data,” and creating “a process for transforming
 9   the messages according to the generic data structure into output data”) as recited in the
10   claims of the ’830 Patent. None of these products are staple goods—they are
11   sophisticated and customized ECM products, methods, and systems.
12         131. OpenText “consists of four revenue streams: license, cloud services and
13   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
14   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
15   OpenText to acquire and retain customers for its software products in a market that is
16   “highly competitive” and increasingly more competitive “as a result of ongoing
17   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
18   at 11 (Aug. 6, 2020 10-K); see also Exhibit C (2020.10.22 - Hyland completes
19   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
20   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
21   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
22   Content Services Report 2020).) OpenText is an innovator in the market and has
23   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
24   such competition. Hyland’s infringing activities have resulted and will continue to
25   result in irreparable harm to OpenText because of the competitive threat that Hyland—
26   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
27   “highly competitive” market, and the impact that Hyland’s infringing activities have on
28   each one of OpenText’s four revenue streams. Further, public interest factors favor
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 1   OpenText as the owner and assignee of government-issued patents, including the
 2   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
 3   knowledge in exchange for the patent protection that Hyland is now infringing.
 4         132. For past infringement, OpenText has suffered damages, including lost
 5   profits, as a result of Hyland’s infringement of the ’830 patent. Hyland is therefore
 6   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
 7   compensates OpenText for Hyland’s infringement, but no less than a reasonable
 8   royalty.
 9         133. OpenText is entitled to a preliminary injunction to maintain the status quo
10   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
11   of OpenText’s biggest competitors (see, e.g., Exhibits 24, Exhibit B (2020.09.09 -
12   Hyland enters definitive agreement to acquire Alfresco, hyland.com), Exhibit C
13   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
14   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
15   hyland.com)), and is using OpenText’s patented technology to compete with OpenText
16   in the ECM and EIM markets.
17         134. For ongoing and future infringement, OpenText will continue to suffer
18   irreparable harm, including without limitation, loss of market share, customers and/or
19   convoyed sales and services which cannot be accurately quantified nor adequately
20   compensated for by money damages, unless this Court preliminarily and permanently
21   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
22   with Hyland from infringing the ’830 patent.
23         135. In the alternative, OpenText is entitled to damages in lieu of an injunction,
24   in an amount consistent with the facts, for future infringement. Hyland’s continued
25   infringement, at least since it had notice of the ’830 patent, is knowing and willful.
26   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
27   infringement will be willful as a matter of law.
28         136. Hyland’s infringement is without license or other authorization.
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 1         137. This case is exceptional, entitling Plaintiffs to enhanced damages under 35
 2   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
 3   action under 35 U.S.C. § 285.
 4                                   THIRD CAUSE OF ACTION
 5                           (INFRINGEMENT OF THE ’381 PATENT)
 6         138. OpenText realleges and incorporates by reference the allegations of the
 7   preceding paragraphs of this First Amended Complaint.
 8         139. Hyland has infringed and continues to infringe one or more claims of the
 9   ’381 patent in violation of 35 U.S.C. § 271 in this judicial district and elsewhere in the
10   United States and will continue to do so unless enjoined by this Court. Hyland directly
11   infringes at least claim 8 of the ’381 patent by making, using, selling, and/or offering to
12   sell at least the Alfresco Enterprise Content Management System (ECM), including the
13   Alfresco Transform Service, at least when used for their ordinary and customary
14   purposes.
15         140. For example, claim 8 of the ’381 patent recites:
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17              8. A method for streamed transformation of data, the method
           comprising:
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19               a first computing device receiving a request from a second
           computing device to read or write a file, the first computing device
20         comprising a memory, a processor, at least one non-transitory computer-
21         readable medium, and stored instructions translatable by the processor;

22                responsive to the request, the first computing device creating a
23         transformation pipeline, the transformation pipeline providing a
           processing sequence and traffic path for streamed data and comprising a
24         sequence of transformation streams corresponding to a set of
25         transformations to be applied to the file, the creating the transformation
           pipeline comprising instantiating a stream object for each transformation
26         stream of the transformation streams, the stream object including a write
27         method for moving a unit of data into the each transformation stream and
           a read method for retrieving the unit of data from the each transformation
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 1         stream, calling a transformation function of the set of transformations to
 2         transform the unit of data, and providing the unit of data thus transformed
           within the each transformation stream to a next transformation stream or,
 3         if there are no more transformation streams in the transformation pipeline,
 4         to a destination device;
 5               the first computing device receiving file data for the file streamed
 6         from a source device;
 7                buffering the file data from the source device in a memory buffer at
 8         the first computing device;
 9                the first computing device segmenting buffered file data to produce
10         units of file data;
11                the first computing device passing and transforming the file data
12         through the transformation pipeline one unit of file data at a time, wherein
           transforming a unit of file data comprises:
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14                      providing the unit of file data to a first transformation stream
                 in the transformation pipeline, the providing performed by a write
15               method associated with the first transformation stream;
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                        applying a transformation associated with the first
17               transformation stream to the unit of file data, the applying performed
18               by a read method associated with the first transformation stream, the
                 applying including the read method calling a transformation
19               function to perform the transformation; and
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                        performing the providing and the applying until all
21               transformations in the set of transformations have been applied to
22               the unit of file data through the sequence of transformation streams
                 in the transformation pipeline; and
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24                      the first computing device sending the unit of file data so
                 transformed by the set of transformations to a destination device.
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26         141. The Accused Products perform the method of claim 8 of the ’381 Patent.
27   To the extent the preamble is construed to be limiting, the Accused Products perform a
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 1   method for streamed transformation of data, as further explained below. For example,
 2   the Alfresco Transform Service converts files “from their current format into other
 3   formats” in a network environment by pipeline transformer having multiple T-engines.
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15   (See https://docs.alfresco.com/transform-service/1.4/.)
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17   (See https://docs.alfresco.com/transform-service/1.4/admin/)
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22   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
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 1   (See https://github.com/Alfresco/acs-packaging/blob/release/6.2.N/docs/custom-
 2   transforms-and-renditions.md#configure-a-custom-transform-pipeline)
 3         142. The Accused Products perform a method that includes a first computing
 4   device receiving a request from a second computing device to read or write a file, the
 5   first computing device comprising a memory, a processor, at least one non-transitory
 6   computer-readable medium, and stored instructions translatable by the processor. For
 7   example, Alfresco Transform Service may be deployed in a number of ways, including
 8   installed on a computer by using the distribution zip file or “deployed as part of the
 9   Content Services containerized deployment using Docker images” in a Kubernetes
10   cluster, for example, on Amazon Web Services (AWS). In either case, the system
11   includes servers and/or other computers that receive requests from devices such as other
12   servers or end user devices. In each case, the servers and or end user devices each
13   include memory, processors, and non-transitory computer-readable medium, as well
14   instructions that are executed by one or more processors.
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 1   (See https://docs.alfresco.com/transform-service/1.4/install/)
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 6   (See https://docs.alfresco.com/transform-service/1.4/install/)
 7         143. As another example, the Alfresco Transform Service includes a “message
 8   broker (either a self-managed ActiveMQ instance or Amazon MQ)” that receives
 9   requests from a client to read and write a file.
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20   (See https://docs.alfresco.com/transform-service/1.4/install/)
21         144. The Accused Products perform a method that includes responsive to the
22   request, the first computing device creating a transformation pipeline, the
23   transformation pipeline providing a processing sequence and traffic path for streamed
24   data and comprising a sequence of transformation streams corresponding to a set of
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 1   transformations to be applied to the file, the creating the transformation pipeline
 2   comprising instantiating a stream object for each transformation stream of the
 3   transformation streams, the stream object including a write method for moving a unit
 4   of data into the each transformation stream and a read method for retrieving the unit
 5   of data from the each transformation stream, calling a transformation function of the
 6   set of transformations to transform the unit of data, and providing the unit of data
 7   thus transformed within the each transformation stream to a next transformation
 8   stream or, if there are no more transformation streams in the transformation pipeline,
 9   to a destination device. For example, the Accused Products create a pipeline
10   transformer in response to T-Request/Transform Request from the “message broker
11   (either a self-managed ActiveMQ instance or Amazon MQ).” The pipeline
12   transformer “maps T-Requests to a sequence of intermediate T-Request steps, which
13   are handled by multiple T-Engines” for “converting files from their current format
14   into other formats.” Each T-Engine performs its own single-step transformation by
15   reading and retrieving source and intermediate files for multi-step transforms from
16   temporary storage (shared file store) and writing the transformed intermediate files
17   and final transformed target file into the temporary storage (shared file store.)
18   (See https://docs.alfresco.com/transform-service/1.4/)
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     (https://docs.alfresco.com/transform-service/1.4/admin/.)
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 1         145. As an example, the Alfresco Transform Service implements multiple
 2   transformers and uses “SelectingTransformer” class to select the proper transformer to
 3   perform the content transformation. “These transformers handle situations where there
 4   is no single engine that can directly transform one media type to another, but that can
 5   be achieved through intermediate media types and transformations.” For example,
 6   “application/msword to image/png can’t be directly performed by one single engine,
 7   but it can be handled by LIBREOFFICE (which would generate application/pdf) and
 8   then PDF_RENDERER.” In this example, the process reads the word docx file from
 9   the temporary storage (shared file store); calls a T-Engine LibreOffice to convert it into
10   a PDF file; and passes the PDF file to the next transformer by writing it into the
11   temporary storage (shared file store), where it then reads the intermediate PDF file from
12   the temporary storage (shared file store); calls a T-Engine Alfresco PDF Renderer to
13   transform the PDF file to a PNG image file; and writes the PNG image file into the
14   temporary storage (shared file store). The final transformed PNG image file is then
15   provided to the appropriate device(s).
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12   (See         https://github.com/Alfresco/alfresco-transform-core/blob/master/alfresco-
13   transform-misc/alfresco-transform-
14   misc/src/main/java/org/alfresco/transformer/transformers/SelectingTransformer.java.)
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19   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)

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22   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
23          146. In another example, the Accused Products provide “Local Transforms
24   [that] may be combined together in a pipeline to form a new transform.” The custom
25   transform pipeline operates such that “the output from one [transform] becomes the
26   input to the next [transform] and so on.”
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16   (See           https://github.com/Alfresco/acs-packaging/blob/release/6.2.N/docs/custom-
17   transforms-and-renditions.md#configure-a-custom-transform-pipeline)
18          147. The Accused Products perform a method that includes the first computing
19   device receiving file data for the file streamed from a source device and buffering the
20   file data from the source device in a memory buffer at the first computing device. For
21   example, as explained above, the Alfresco Transform Service receives an original
22   source file from the content repository (ACS) and temporarily stores it in the shared file
23   store. (See https://docs.alfresco.com/transform-service/1.4/admin/). In addition, the
24   Alfresco Transform Service’s source code uses “InputStream” to receive file data
25   (“sourceFile”). The Alfresco Transform Service also uses “BufferedReader” to read the
26   source file.
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12   (See                                    https://github.com/Alfresco/alfresco-transform-
13   core/blob/f24969199c13140f32ba976db65d6c15425fb3b0/alfresco-transform-
14   misc/alfresco-transform-
15   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
16   mer.java)
17          148. On information and belief, the Accused Products perform a method that
18   includes the first computing device segmenting buffered file data to produce units of file
19   data and the first computing device passing and transforming the file data through the
20   transformation pipeline one unit of file data at a time. As explained above, the Alfresco
21   Transform Service transforms file to other formats by passing it through pipeline
22   transformer which consists of multiple Transform Engines/T-Engines. The pipeline
23   transformer “maps T-Requests to a sequence of intermediate T-Requests steps, which
24   are handled by multiple T-Engines,” such that file data is transformed from one format
25   into another “through intermediate media types and transformations.” For example, the
26   Alfresco Transform Service uses “BufferedReader” to read an input data stream and
27   store the input data in a buffered reader “ir.” The method “createPDFFromText” is used
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 1   to create a buffered “data” from input “text” file and then convert the “text” file to a
 2   PDF file. In particular, the buffered “data” of the “text” file is transformed line by line
 3   to the PDF file.
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21   (See                                     https://github.com/Alfresco/alfresco-transform-
22   core/blob/f24969199c13140f32ba976db65d6c15425fb3b0/alfresco-transform-
23   misc/alfresco-transform-
24   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
25   mer.java)
26          149. The Accused Products perform a method that includes providing the unit
27   of file data to a first transformation stream in the transformation pipeline, the providing
28   performed by a write method associated with the first transformation stream. As
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 1   explained above, the Alfresco Transform Service transforms an input file to other
 2   formats through a pipeline transformer if “there is no single engine that can directly
 3   transform one media type to another.” For example, as input file application/msword
 4   cannot be directly transformed to output file image/png, the Alfresco Transform Service
 5   uses a first transform engine (i.e., LibreOffice) to convert the input file
 6   application/msword to an intermediate PDF file. The Transform Engines retrieve files
 7   from the temporary storage (shared file store), where the original file and intermediate
 8   files are stored.
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18   (See https://docs.alfresco.com/transform-service/1.4/admin/)
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23   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
24          150. The Accused Products perform a method that includes applying a
25   transformation associated with the first transformation stream to the unit of file data,
26   the applying performed by a read method associated with the first transformation
27   stream, the applying including the read method calling a transformation function to
28   perform the transformation. As explained above, the Alfresco Transform Service stores
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 1   an input file in temporary storage (shared file store) temporarily for subsequent
 2   transformation steps. As an example, for transformation of application/msword to
 3   image/png, the Alfresco Transform Service retrieves the input file from the temporary
 4   storage (shared file store) and applies a first Transform Engine (i.e., LibreOffice) to
 5   convert the input application/msword file to an intermediate PDF file.
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15   (See https://docs.alfresco.com/transform-service/1.4/admin/)
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20
     (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
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24   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
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                                               77
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 3
     (See https://github.com/Alfresco/acs-packaging/blob/release/6.2.N/docs/custom-
 4
     transforms-and-renditions.md#configure-a-custom-transform-pipeline)
 5
 6         151. As an example, the Alfresco Transform Service provides a transformation
 7   function “createPDFFromText” that is performed line by line.
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                              COMPLAINT FOR PATENT INFRINGEMENT
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17   (See                                   https://github.com/Alfresco/alfresco-transform-
18   core/blob/e575ec943a5fa5dddca5593e6795a17a2bbb3cb6/alfresco-transform-
19   misc/alfresco-transform-
20   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
21   mer.java)
22          152. On information and belief, the Accused Products perform a method that
23   includes performing the providing and the applying until all transformations in the set
24   of transformations have been applied to the unit of file data through the sequence of
25   transformation streams in the transformation pipeline. As explained above, the
26   Alfresco Transform Service transforms an input file from application/msword to
27   image/png through a pipeline transformer if “there is no single engine that can directly
28   transform one media type to another.” As an example, a transformation pipeline may
                                                79
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 1   include a first Transform Engine (i.e., LibreOffice) and a second Transform Engine (i.e.,
 2   Alfresco PDF Renderer). The transformed file obtained from the Transform Engine
 3   LibreOffice is input to the next sequenced Transform Engine (i.e., Alfresco PDF
 4   Renderer).         (See         https://docs.alfresco.com/transform-service/1.4/admin/;
 5   https://docs.alfresco.com/transform-service/1.4/config/transformers/;
 6   https://github.com/Alfresco/acs-packaging/blob/release/6.2.N/docs/custom-
 7   transforms-and-renditions.md#configure-a-custom-transform-pipeline.)
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18   (See https://docs.alfresco.com/transform-service/1.4/config/transformers/)
19
           153. The Accused Products perform a method that includes the first computing
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     device sending the unit of file data so transformed by the set of transformations to a
21
     destination device. As explained above, the Alfresco Transform Service sends the
22
     transformed file data to a temporary storage (shared file store) and content repository
23
     (ACS). The shared file store is “used as temporary storage for the original source file
24
     (stored by the repository), intermediate files for multi-step transforms, and the final
25
     transformed target file.” (See https://docs.alfresco.com/transform-service/1.4/admin/)
26
     As an example, the transformed file data is sent through the “OutputStream os.”
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                                                80
                                COMPLAINT FOR PATENT INFRINGEMENT
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26   (See                                https://github.com/Alfresco/alfresco-transform-
27   core/blob/f24969199c13140f32ba976db65d6c15425fb3b0/alfresco-transform-
28
                                            81
                             COMPLAINT FOR PATENT INFRINGEMENT
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 1   misc/alfresco-transform-
 2   misc/src/main/java/org/alfresco/transformer/transformers/TextToPdfContentTransfor
 3   mer.java)
 4         154.    Each claim in the ’381 Patent recites an independent invention. Neither
 5   claim 1, described above, nor any other individual claim is representative of all claims
 6   in the ’381 Patent.
 7         155. On information and belief, there has been significant effort by Hyland to
 8   imitate OpenText’s patent-protected products to compete with OpenText in the ECM
 9   and EIM markets and to increase Hyland’s share of that market at the expense of
10   OpenText’s market share. (See, e.g., Exhibit B (2020.09.09 - Hyland enters definitive
11   agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland completes
12   acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and Alfresco
13   named Leaders in Content Services GMQ, hyland.com).)              Hyland’s efforts have
14   resulted in the Accused Products, which infringe at least claim 1 of the ’381 patent as
15   described above, and those efforts would have exposed Hyland to the ’381 patent prior
16   to the filing of the original Complaint in this action.
17         156. Hyland has known of the ’381 Patent since receiving a letter identifying
18   the patent and the infringement on September 2, 2022. At the very least, Hyland has
19   been aware of the ’381 patent and of its infringement based on the Accused Products
20   since at least the filing and/or service of this Complaint.
21         157. On information and belief, at least as of the filing of the Complaint in this
22   action, Hyland has knowingly and actively induced and is knowingly and actively
23   inducing at least its customers and partners to directly infringe at least claim 1 of the
24   ’381 patent, and has done so with specific intent to induce infringement, and/or willful
25   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
26   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
27   installing, and distributing its Accused Products in the United States. (Exhibit C
28   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
                                                  82
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 1   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
 2   hyland.com).) On information and belief, those activities continue.
 3         158. On information and belief, Hyland deliberately and knowingly encourages,
 4   instructs, directs, and/or requires third parties—including its partners, customers, and/or
 5   end users—to use the Accused Products in a way that infringes at least claim 1 of the
 6   ’726 patent as described above.
 7         159. Hyland’s partners, customers, and end users of its Accused Products
 8   directly infringe at least claim 1 of the ’381 patent, at least by using the Accused
 9   Products, as described above.
10         160. For example, on information and belief, Hyland knowingly and
11   intentionally shares instructions, guides, and manuals, including through its website,
12   training programs, and/or YouTube, which advertise and instruct third parties on how
13   to use the Accused Products in a way that directly infringes at least claim 1 of the ’381
14   patent as described above, including at least Hyland’s customers.              On further
15   information and belief, Hyland knowingly and intentionally provides customer service
16   or technical support to purchasers of the infringing Accused Products, which directs and
17   encourages Hyland’s customers to use the Accused Products in a way that directly
18   infringes at least claim 1 of the ’381 patent as described above.
19         161. On information and belief, the infringing actions of each customer and/or
20   end-user of the Accused Products are attributable to Hyland.
21         162. On information and belief, Hyland sells and offers for sale the Accused
22   Products and provides technical support for the installation, implementation,
23   integration, and ongoing operation of the Accused Products for each individual
24   customer.    On information and belief, each customer enters into a contractual
25   relationship with Hyland, which obligates each customer to perform certain actions as
26   a condition to use the Accused Products. Further, in order to receive the benefit of
27   Hyland’s continued technical support and its specialized knowledge and guidance of
28   the operability of the Accused Products, each customer must continue to use the
                                                 83
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 1   Accused Products in a way that infringes the ’381 patent. Further, as the entity that
 2   provides installation, implementation, and integration of the Accused Products in
 3   addition to ensuring the Accused Products remain operational for each customer
 4   through ongoing technical support, on information and belief, Hyland establishes the
 5   manner and timing of each customer’s performance of activities that infringe the ’381
 6   patent.
 7         163. On information and belief, Hyland forms a joint enterprise with its
 8   customers to engage in directly infringing the ’381 patent. On further information and
 9   belief, Hyland together with each customer operate under a contractual agreement; have
10   a common purpose to operate the Accused Products in a way that directly infringes the
11   ’381 patent as outlined in the paragraphs above; have pecuniary interests in operating
12   the Accused Products by directly profiting from the sale and/or maintenance of the
13   Accused Products or by indirectly profiting from the increased efficiency resulting from
14   use of the Accused Products; and have equal rights to a voice in the direction of the
15   enterprise either by guiding and advising on the operation and capabilities of the
16   Accused Products with product-specific know-how and expertise or by requesting that
17   certain customer-specific capabilities be implemented in the Accused Products.
18         164. Hyland also contributes to the infringement of its partners, customers, and
19   end-users of the Accused Products by providing within the United States or importing
20   the Accused Products into the United States, which are for use in practicing, and under
21   normal operation practice, methods claimed in the Asserted Patents, constituting a
22   material part of the inventions claimed, and not a staple article or commodity of
23   commerce suitable for substantial non-infringing uses.
24         165. Indeed, as shown above, the Accused Products have no substantial non-
25   infringing uses because the accused functionality, including the transformation of files
26   from their current format into other formats and related functionality described above,
27   is an integral part of the Accused Products and must be performed for the Accused
28   Products to perform their intended purpose. These processes are continually running
                                                84
                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   when the system is in use and, on information and belief, cannot be removed or disabled
 2   (or, if they could, the system would no longer suitably function for its intended purpose).
 3   Moreover, for the same reasons, without performing each of the steps as described and
 4   shown above, or without the system and components identified above that practice the
 5   ’381 patent, that functionality could not be performed.
 6         166. Additionally, the accused functionality, including the transformation of
 7   files from their current format into other formats and related functionality described
 8   above, itself has no substantial non-infringing uses because the components, modules
 9   and methods identified above are a necessary part of that functionality. For example,
10   without the Alfresco Transformation Services, the Accused Products could not convert
11   files from one format to another, including metadata. These processes are continually
12   running when the system is in use and, on information and belief, cannot be removed
13   or disabled (or, if they could, the system would no longer function for its intended
14   purpose). Moreover, for the same reasons, without performing each of the steps as
15   described and shown above, or without the system and components identified above
16   that practice the ’381 Patent, that functionality could not be performed.
17         167. In addition, as shown in the detailed analysis above, the products, systems,
18   modules, and methods provided by Hyland constitute a material part of the invention—
19   indeed, they provide all the components, modules, and features that perform the claimed
20   methods and systems. For example, the Accused Products and accused functionalities
21   (including the file transformation functionality) constitute a material part of the
22   inventions claimed because such functionality is integral to the processes identified
23   above (such as “receiving a request from a second computing device to read or write a
24   file,” “creating a transformation pipeline,” “providing the unit of file data to a first
25   transformation stream,” “applying a transformation”, and “performing the applying
26   until all transformations have been applied”) as recited in the claims of the ’381 Patent.
27   None of these products are staple goods—they are sophisticated and customized ECM
28   products, methods, and systems.
                                                 85
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 1         168. OpenText “consists of four revenue streams: license, cloud services and
 2   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
 3   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
 4   OpenText to acquire and retain customers for its software products in a market that is
 5   “highly competitive” and increasingly more competitive “as a result of ongoing
 6   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
 7   at 11 (Aug. 6, 2020 10-K); see also Exhibit C (2020.10.22 - Hyland completes
 8   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
 9   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
10   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
11   Content Services Report 2020).) OpenText is an innovator in the market and has
12   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
13   such competition. Hyland’s infringing activities have resulted and will continue to
14   result in irreparable harm to OpenText because of the competitive threat that Hyland—
15   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
16   “highly competitive” market, and the impact that Hyland’s infringing activities have on
17   each one of OpenText’s four revenue streams. Further, public interest factors favor
18   OpenText as the owner and assignee of government-issued patents, including the
19   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
20   knowledge in exchange for the patent protection that Hyland is now infringing.
21         169. For past infringement, OpenText has suffered damages, including lost
22   profits, as a result of Hyland’s infringement of the ’381 patent. Hyland is therefore
23   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
24   compensates OpenText for Hyland’s infringement, but no less than a reasonable
25   royalty.
26         170. OpenText is entitled to a preliminary injunction to maintain the status quo
27   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
28   of OpenText’s biggest competitors (see, e.g., Exhibit B (2020.09.09 - Hyland enters
                                                86
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 1   definitive agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland
 2   completes acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and
 3   Alfresco named Leaders in Content Services GMQ, hyland.com)), and is using
 4   OpenText’s patented technology to compete with OpenText in the ECM and EIM
 5   markets.
 6         171. For ongoing and future infringement, OpenText will continue to suffer
 7   irreparable harm, including without limitation, loss of market share, customers and/or
 8   convoyed sales and services which cannot be accurately quantified nor adequately
 9   compensated for by money damages, unless this Court preliminarily and permanently
10   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
11   with Hyland from infringing the ’381 patent.
12         172. In the alternative, OpenText is entitled to damages in lieu of an injunction,
13   in an amount consistent with the facts, for future infringement. Hyland’s continued
14   infringement, at least since it had notice of the ’381 patent, is knowing and willful.
15   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
16   infringement will be willful as a matter of law.
17         173. Hyland’s infringement is without license or other authorization.
18         174. This case is exceptional, entitling Plaintiffs to enhanced damages under 35
19   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
20   action under 35 U.S.C. § 285.
21                                 FOURTH CAUSE OF ACTION
22                           (INFRINGEMENT OF THE ’786 PATENT)
23         175. Plaintiffs reallege and incorporate by reference the allegations of the
24   preceding paragraphs of this Complaint.
25         176. Defendants have infringed and continue to infringe one or more claims of
26   the ’786 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the
27   United States and will continue to do so unless enjoined by this Court. The Accused
28   Products, including features such as Alfresco’s Application Development Framework
                                                87
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 1   (“ADF”), at least when used for their ordinary and customary purposes, practice each
 2   element of at least claim 1 of the ’786 Patent as described below.
 3          177. Claim 1 of the ’786 Patent recites:
 4                 1. A method comprising:
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                  receiving via a software development tool interface a definition of
 6          a context menu option and an associated action; and
 7
                   generating, using one or more processors, programmatically based
 8          at least in part on the definition an application code to implement the
 9          context menu at runtime, including performing processing at runtime as
            defined in the definition to determine one or both of the context menu
10          option and the associated action, and to create an invisible object that is
11          associated with an application page during execution of the application
            page, wherein the invisible object provides, to the context menu,
12          information with which the context menu is updated during execution of
13          the application page, and

14                 and wherein the context menu is displayed in response to detection
15          of a predetermined event during execution of the application page.

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            178. To the extent the preamble is construed to be limiting, the Accused
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     Products perform a method as further explained below. For example, the Accused
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     Products perform a method for plugging context menus into an “extensible app,” where
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     definitions for context menus and other components are incorporated into “extension
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     points” within that app.
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     (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/)
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                                  COMPLAINT FOR PATENT INFRINGEMENT
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     (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/.)
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 7          179. The Accused Products perform a method of receiving via a software
 8   development tool interface a definition of a context menu option and an associated
 9   action and generating, using one or more processors, programmatically based at least
10   in part on the definition an application code to implement the context menu at
11   runtime, including performing processing at runtime as defined in the definition to
12   determine one or both of the context menu option and the associated action. In the
13   example shown below of one possible encoding of a “context menu” within the
14   Accused Products, the “items” or options comprised by that menu and a set of actions
15   associated with those options is shown as being loaded in as a “dynamic component”
16   into an “extensible app.” That context menu is plugged into the app at an “extension
17   point” and referred to only by its “key” or “ID string” within the “main app code,”
18   “while the actual implementation is loaded and registered separately.” An “extension
19   point…is used to mark a place in the app where the actual content will be supplied
20   dynamically.” That context menu “dynamically” is loaded at run time, including the
21   actions to be performed that are associated with that menu’s options.
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26   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/.)
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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     (See https://www.alfresco.com/abn/adf/docs/core/directives/context-menu.directive/).
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26   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
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     (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
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     (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/)
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17          180. The application code generated by the Accused Products is also used to
18   create an invisible object that is associated with an application page during execution
19   of the application page, wherein the invisible object provides, to the context menu,
20   information with which the context menu is updated during execution of the application
21   page, wherein the context menu is displayed in response to detection of a predetermined
22   event during execution of the application page. For example, each context menu is
23   loaded into an invisible “Dynamic component” container that is used to add the context
24   menu “as a child of the Dynamic component at runtime.” Similarly, an invisible
25   “feature” container can also be used to load in, by referencing its “ID,” a particular
26   context menu and to specify certain actions for that menu to perform when interacted
27   with by a user. These containers also specify predetermined conditions that must be
28   satisfied before the context menu is rendered “visible.” In the example below, the
                                                     91
                                   COMPLAINT FOR PATENT INFRINGEMENT
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 1   context menu “tool” is rendered visible if the “biscuits” feature within the app is “not
 2   empty.”
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10   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).

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19
     (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
20
21          181. Each claim in the ’786 Patent recites an independent invention. Neither
22   claim 1, described above, nor any other individual claim is representative of all claims
23   in the ’786 Patent.
24          182. On information and belief, there has been significant effort by Hyland to
25   imitate OpenText’s patent-protected products to compete with OpenText in the ECM
26   and EIM markets and to increase Hyland’s share of that market at the expense of
27   OpenText’s market share. (See, e.g., Exhibit B (2020.09.09 - Hyland enters definitive
28   agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland completes
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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 1   acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and Alfresco
 2   named Leaders in Content Services GMQ, hyland.com).)              Hyland’s efforts have
 3   resulted in the Accused Products, which infringe at least claim 1 of the ’786 patent as
 4   described above, and those efforts would have exposed Hyland to the ’786 patent prior
 5   to the filing of the original Complaint in this action.
 6         183. Hyland has known of the ’786 Patent since receiving a letter identifying
 7   the patent and the infringement on September 2, 2022. At the very least, Hyland has
 8   been aware of the ’786 patent and of its infringement based on the Accused Products
 9   since at least the filing and/or service of this Complaint. Further, OpenText marks its
10   products with the ’786 patent.
11         184. On information and belief, at least as of the filing of the Complaint in this
12   action, Hyland has knowingly and actively induced and is knowingly and actively
13   inducing at least its customers and partners to directly infringe at least claim 1 of the
14   ’786 patent, and has done so with specific intent to induce infringement, and/or willful
15   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
16   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
17   installing, and distributing its Accused Products in the United States. (Exhibit C
18   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
19   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
20   hyland.com).) On information and belief, those activities continue.
21         185. On information and belief, Hyland deliberately and knowingly encourages,
22   instructs, directs, and/or requires third parties—including its partners, customers, and/or
23   end users—to use the Accused Products in a way that infringes at least claim 1 of the
24   ’726 patent as described above.
25         186. Hyland’s partners, customers, and end users of its Accused Products
26   directly infringe at least claim 1 of the ’786 patent, at least by using the Accused
27   Products, as described above.
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                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1         187. For example, on information and belief, Hyland knowingly and
 2   intentionally shares instructions, guides, and manuals, including through its website,
 3   training programs, and/or YouTube, which advertise and instruct third parties on how
 4   to use the Accused Products in a way that directly infringes at least claim 1 of the ’786
 5   patent as described above, including at least Hyland’s customers.            On further
 6   information and belief, Hyland knowingly and intentionally provides customer service
 7   or technical support to purchasers of the infringing Accused Products, which directs and
 8   encourages Hyland’s customers to use the Accused Products in a way that directly
 9   infringes at least claim 1 of the ’786 patent as described above.
10         188. On information and belief, the infringing actions of each customer and/or
11   end-user of the Accused Products are attributable to Hyland.
12         189. On information and belief, Hyland sells and offers for sale the Accused
13   Products and provides technical support for the installation, implementation,
14   integration, and ongoing operation of the Accused Products for each individual
15   customer.    On information and belief, each customer enters into a contractual
16   relationship with Hyland, which obligates each customer to perform certain actions as
17   a condition to use the Accused Products. Further, in order to receive the benefit of
18   Hyland’s continued technical support and its specialized knowledge and guidance of
19   the operability of the Accused Products, each customer must continue to use the
20   Accused Products in a way that infringes the ’786 patent. Further, as the entity that
21   provides installation, implementation, and integration of the Accused Products in
22   addition to ensuring the Accused Products remain operational for each customer
23   through ongoing technical support, on information and belief, Hyland establishes the
24   manner and timing of each customer’s performance of activities that infringe the ’786
25   patent.
26         190. On information and belief, Hyland forms a joint enterprise with its
27   customers to engage in directly infringing the ’786 patent. On further information and
28   belief, Hyland together with each customer operate under a contractual agreement; have
                                                94
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 1   a common purpose to operate the Accused Products in a way that directly infringes the
 2   ’786 patent as outlined in the paragraphs above; have pecuniary interests in operating
 3   the Accused Products by directly profiting from the sale and/or maintenance of the
 4   Accused Products or by indirectly profiting from the increased efficiency resulting from
 5   use of the Accused Products; and have equal rights to a voice in the direction of the
 6   enterprise either by guiding and advising on the operation and capabilities of the
 7   Accused Products with product-specific know-how and expertise or by requesting that
 8   certain customer-specific capabilities be implemented in the Accused Products.
 9         191. Hyland also contributes to the infringement of its partners, customers, and
10   end-users of the Accused Products by providing within the United States or importing
11   the Accused Products into the United States, which are for use in practicing, and under
12   normal operation practice, methods claimed in the Asserted Patents, constituting a
13   material part of the inventions claimed, and not a staple article or commodity of
14   commerce suitable for substantial non-infringing uses.
15         192. Indeed, as shown above, the Accused Products have no substantial non-
16   infringing uses because the accused functionality, including the development and
17   implementation of context menus and invisible objects and related functionality
18   described above, is an integral part of the Accused Products and must be performed for
19   the Accused Products to perform their intended purpose. These processes are part of the
20   development framework and, on information and belief, cannot be removed or disabled
21   (or, if they could, the system would no longer suitably function for its intended purpose).
22   Moreover, for the same reasons, without performing each of the steps as described and
23   shown above, or without the system and components identified above that practice the
24   ’786 patent, that functionality could not be performed.
25         193. Additionally, the accused functionality, including the development and
26   implementation of context menus and invisible objects and related functionality
27   described above, itself has no substantial non-infringing uses because the components,
28   modules and methods identified above are a necessary part of that functionality. For
                                                 95
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 1   example, without the context menus and invisible objects, the Accused Products could
 2   not provide the dynamic components and features of a user interface. On information
 3   and belief, these features cannot be removed or disabled (or, if they could, the system
 4   would no longer function for its intended purpose). Moreover, for the same reasons,
 5   without performing each of the steps as described and shown above, or without the
 6   system and components identified above that practice the ’786 Patent, that functionality
 7   could not be performed.
 8         194. In addition, as shown in the detailed analysis above, the products, systems,
 9   modules, and methods provided by Hyland constitute a material part of the invention—
10   indeed, they provide all the components, modules, and features that perform the claimed
11   methods and systems. For example, the Accused Products and accused functionalities
12   (including the functionality for developing and implementing context menus and
13   invisible objects) constitute a material part of the inventions claimed because such
14   functionality is integral to the processes identified above (such as to receive “definition
15   of a context menu option and an associated action,” generate “code to implement the
16   context menu at runtime” and create “an invisible object that is associated with an
17   application page during execution of the application page”) as recited in the claims of
18   the ’786 Patent. None of these products are staple goods—they are sophisticated and
19   customized application development and ECM products, methods, and systems.
20         195. OpenText “consists of four revenue streams: license, cloud services and
21   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
22   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
23   OpenText to acquire and retain customers for its software products in a market that is
24   “highly competitive” and increasingly more competitive “as a result of ongoing
25   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
26   at 11 (Aug. 6, 2020 10-K); see also Exhibit C (2020.10.22 - Hyland completes
27   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
28   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
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 1   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
 2   Content Services Report 2020).) OpenText is an innovator in the market and has
 3   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
 4   such competition. Hyland’s infringing activities have resulted and will continue to
 5   result in irreparable harm to OpenText because of the competitive threat that Hyland—
 6   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
 7   “highly competitive” market, and the impact that Hyland’s infringing activities have on
 8   each one of OpenText’s four revenue streams. Further, public interest factors favor
 9   OpenText as the owner and assignee of government-issued patents, including the
10   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
11   knowledge in exchange for the patent protection that Hyland is now infringing.
12         196. For past infringement, OpenText has suffered damages, including lost
13   profits, as a result of Hyland’s infringement of the ’786 patent. Hyland is therefore
14   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
15   compensates OpenText for Hyland’s infringement, but no less than a reasonable
16   royalty.
17         197. OpenText is entitled to a preliminary injunction to maintain the status quo
18   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
19   of OpenText’s biggest competitors (see, e.g., Exhibits 24, Exhibit B (2020.09.09 -
20   Hyland enters definitive agreement to acquire Alfresco, hyland.com), Exhibit C
21   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
22   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
23   hyland.com)), and is using OpenText’s patented technology to compete with OpenText
24   in the ECM and EIM markets.
25         198. For ongoing and future infringement, OpenText will continue to suffer
26   irreparable harm, including without limitation, loss of market share, customers and/or
27   convoyed sales and services which cannot be accurately quantified nor adequately
28   compensated for by money damages, unless this Court preliminarily and permanently
                                                97
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 1   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
 2   with Hyland from infringing the ’786 patent.
 3         199. In the alternative, OpenText is entitled to damages in lieu of an injunction,
 4   in an amount consistent with the facts, for future infringement. Hyland’s continued
 5   infringement, at least since it had notice of the ’786 patent, is knowing and willful.
 6   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
 7   infringement will be willful as a matter of law.
 8         200. Hyland’s infringement is without license or other authorization.
 9         201. This case is exceptional, entitling Plaintiffs to enhanced damages under 35
10   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
11   action under 35 U.S.C. § 285.
12                                   FIFTH CAUSE OF ACTION
13                           (INFRINGEMENT OF THE ’150 PATENT)
14         202. Plaintiffs reallege and incorporate by reference the allegations of the
15   preceding paragraphs of this Complaint.
16         203. Alfresco has infringed and continues to infringe one or more claims of the
17   ’786 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United
18   States and will continue to do so unless enjoined by this Court. The Accused Products,
19   including features such as Alfresco’s Application Development Framework (“ADF”),
20   at least when used for their ordinary and customary purposes, practice each element of
21   at least claim 1 of the ’150 Patent as described below.
22         204. Claim 1 of the ’150 Patent recites:
23                1. A method comprising:
24
                       receiving via a software development tool interface a context
25                menu option definition; and
26
                        generating, using one or more processors, based at least in
27                part on the context menu option definition, an application code to
28                implement the context menu at runtime, including performing

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  1               processing at runtime and to create an invisible object that is
  2               associated with an application page during execution of the
                  application page,
  3
  4                      wherein the invisible object is configured to consume an
                  event during display of the application page, update a context menu
  5               related value responsive to the event, and provide, to the context
  6               menu, a current context menu related value with which a context
                  menu option of the context menu is updated during display of the
  7               application page.
  8
  9         205. To the extent the preamble is construed to be limiting, the Accused

 10   Products perform a method as further explained below. For example, the Accused

 11   Products perform a method for plugging context menus into an “extensible app,”

 12   wherein definitions for context menus and other components are incorporated into

 13   “extension points” within that app.

 14
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 18
 19   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/)
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 21
 22
 23
 24
      (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/.)
 25
 26         206. The Accused Products perform a method of receiving via a software
 27   development tool interface a context menu option definition and generating, using one
 28   or more processors, based at least in part on the context menu option definition, an
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  1   application code to implement the context menu at runtime, including performing
  2   processing at runtime. In the example shown below of one possible encoding of a
  3   “context menu” within the Accused Products, the “items” or options comprised by that
  4   menu and a set of actions associated with those options is shown as being loaded in as
  5   a “dynamic component” into an “extensible app.” That context menu is plugged into
  6   the app at an “extension point” and referred to only by its “key” or “ID string” within
  7   the “main app code,” “while the actual implementation is loaded and registered
  8   separately.” An “extension point…is used to mark a place in the app where the actual
  9   content will be supplied dynamically.” The Accused Products load in the “actual
 10   implementation” of that context menu “dynamically” at run time, including the actions
 11   to be performed that are associated with that menu’s options.
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 16   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/.)
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 10   (See https://www.alfresco.com/abn/adf/docs/core/directives/context-menu.directive/).
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 20   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
 21
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                                               101
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  1   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
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  7   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/)
  8
            207. The application code generated by the Accused Products is also used to
  9
      create an invisible object that is associated with an application page during execution
 10
      of the application page and wherein the invisible object is configured to consume an
 11
      event during display of the application page, update a context menu related value
 12
      responsive to the event, and provide, to the context menu, a current context menu related
 13
      value with which a context menu option of the context menu is updated during display
 14
      of the application page. For example, each context menu is loaded into an invisible
 15
      “Dynamic component” container that is used to add the context menu “as a child of the
 16
      Dynamic component at runtime.” Similarly, an invisible “feature” container can also be
 17
      used to load in, by referencing its “ID,” a particular context menu and to specify certain
 18
      actions for that menu to perform when interacted with by a user. These containers also
 19
      specify events that must be satisfied before the context menu is rendered “visible.” In
 20
      the example below, the context menu “tool” is rendered visible if the “biscuits” feature
 21
      within the app is “not empty.”
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                                                 102
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 10   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).

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 20
 21   (See https://www.alfresco.com/abn/adf/docs/user-guide/app-extensions/).
 22         208. Each claim in the ’150 Patent recites an independent invention. Neither
 23   claim 1, described above, nor any other individual claim is representative of all claims
 24   in the ’150 Patent.
 25         209. On information and belief, there has been significant effort by Hyland to
 26   imitate OpenText’s patent-protected products to compete with OpenText in the ECM
 27   and EIM markets and to increase Hyland’s share of that market at the expense of
 28   OpenText’s market share. (See, e.g., Exhibit B (2020.09.09 - Hyland enters definitive
                                                103
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  1   agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland completes
  2   acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and Alfresco
  3   named Leaders in Content Services GMQ, hyland.com).)              Hyland’s efforts have
  4   resulted in the Accused Products, which infringe at least claim 1 of the ’150 patent as
  5   described above, and those efforts would have exposed Hyland to the ’150 patent prior
  6   to the filing of the original Complaint in this action.
  7         210. Defendant has known of the ’150 Patent since receiving a letter identifying
  8   the patent and the infringement on September 2, 2022. At the very least, Hyland has
  9   been aware of the ’150 patent and of its infringement based on the Accused Products
 10   since at least the filing and/or service of this Complaint.
 11         211. On information and belief, at least as of the filing of the Complaint in this
 12   action, Hyland has knowingly and actively induced and is knowingly and actively
 13   inducing at least its customers and partners to directly infringe at least claim 1 of the
 14   ’150 patent, and has done so with specific intent to induce infringement, and/or willful
 15   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
 16   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
 17   installing, and distributing its Accused Products in the United States. (Exhibit C
 18   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
 19   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
 20   hyland.com).) On information and belief, those activities continue.
 21         212. On information and belief, Hyland deliberately and knowingly encourages,
 22   instructs, directs, and/or requires third parties—including its partners, customers, and/or
 23   end users—to use the infringing Accused Products in a way that infringes at least claim
 24   1 of the ’150 patent as described above.
 25         213. Hyland’s partners, customers, and end users of its Accused Products
 26   directly infringe at least claim 1 of the ’150 patent, at least by using the Accused
 27   Products, as described above.
 28
                                                  104
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  1         214. For example, on information and belief, Hyland knowingly and
  2   intentionally shares instructions, guides, and manuals, including through its website,
  3   training programs, and/or YouTube, which advertise and instruct third parties on how
  4   to use the Accused Products in a way that directly infringes at least claim 1 of the ’150
  5   patent as described above, including at least Hyland’s customers.            On further
  6   information and belief, Hyland knowingly and intentionally provides customer service
  7   or technical support to purchasers of the infringing Accused Products, which directs and
  8   encourages Hyland’s customers to use the Accused Products in a way that directly
  9   infringes at least claim 1 of the ’150 patent as described above.
 10         215. On information and belief, the infringing actions of each customer and/or
 11   end-user of the Accused Products are attributable to Hyland.
 12         216. On information and belief, Hyland sells and offers for sale the Accused
 13   Products and provides technical support for the installation, implementation,
 14   integration, and ongoing operation of the Accused Products for each individual
 15   customer.    On information and belief, each customer enters into a contractual
 16   relationship with Hyland, which obligates each customer to perform certain actions as
 17   a condition to use the Accused Products. Further, in order to receive the benefit of
 18   Hyland’s continued technical support and its specialized knowledge and guidance of
 19   the operability of the Accused Products, each customer must continue to use the
 20   Accused Products in a way that infringes the ’150 patent. Further, as the entity that
 21   provides installation, implementation, and integration of the Accused Products in
 22   addition to ensuring the Accused Products remain operational for each customer
 23   through ongoing technical support, on information and belief, Hyland establishes the
 24   manner and timing of each customer’s performance of activities that infringe the ’150
 25   patent.
 26         217. On information and belief, Hyland forms a joint enterprise with its
 27   customers to engage in directly infringing the ’150 patent. On further information and
 28   belief, Hyland together with each customer operate under a contractual agreement; have
                                                 105
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  1   a common purpose to operate the Accused Products in a way that directly infringes the
  2   ’150 patent as outlined in the paragraphs above; have pecuniary interests in operating
  3   the Accused Products by directly profiting from the sale and/or maintenance of the
  4   Accused Products or by indirectly profiting from the increased efficiency resulting from
  5   use of the Accused Products; and have equal rights to a voice in the direction of the
  6   enterprise either by guiding and advising on the operation and capabilities of the
  7   Accused Products with product-specific know-how and expertise or by requesting that
  8   certain customer-specific capabilities be implemented in the Accused Products.
  9         218. Hyland also contributes to the infringement of its partners, customers, and
 10   end-users of the Accused Products by providing within the United States or importing
 11   the Accused Products into the United States, which are for use in practicing, and under
 12   normal operation practice, methods claimed in the Asserted Patents, constituting a
 13   material part of the inventions claimed, and not a staple article or commodity of
 14   commerce suitable for substantial non-infringing uses.
 15         219. Indeed, as shown above, the Accused Products have no substantial non-
 16   infringing uses because the accused functionality, including the development and
 17   implementation of context menus and invisible objects and related functionality
 18   described above, is an integral part of the Accused Products and must be performed for
 19   the Accused Products to perform their intended purpose. These processes are part of the
 20   development framework and, on information and belief, cannot be removed or disabled
 21   (or, if they could, the system would no longer suitably function for its intended purpose).
 22   Moreover, for the same reasons, without performing each of the steps as described and
 23   shown above, or without the system and components identified above that practice the
 24   ’150 patent, that functionality could not be performed.
 25         220. Additionally, the accused functionality, including the development and
 26   implementation of context menus and invisible objects and related functionality
 27   described above, itself has no substantial non-infringing uses because the components,
 28   modules and methods identified above are a necessary part of that functionality. For
                                                  106
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  1   example, without the context menus and invisible objects, the Accused Products could
  2   not provide the dynamic components and features of a user interface. On information
  3   and belief, these features cannot be removed or disabled (or, if they could, the system
  4   would no longer function for its intended purpose). Moreover, for the same reasons,
  5   without performing each of the steps as described and shown above, or without the
  6   system and components identified above that practice the ’150 Patent, that functionality
  7   could not be performed.
  8         221. In addition, as shown in the detailed analysis above, the products, systems,
  9   modules, and methods provided by Hyland constitute a material part of the invention—
 10   indeed, they provide all the components, modules, and features that perform the claimed
 11   methods and systems. For example, the Accused Products and accused functionalities
 12   (including the functionality for developing and implementing context menus and
 13   invisible objects) constitute a material part of the inventions claimed because such
 14   functionality is integral to the processes identified above (such as generating
 15   “application code to implement the context menu at runtime” and to “create an invisible
 16   object that is associated with an application page during execution of the application
 17   page”) as recited in the claims of the ’150 Patent. None of these products are staple
 18   goods—they are sophisticated and customized application development and ECM
 19   products, methods, and systems.
 20         222. OpenText “consists of four revenue streams: license, cloud services and
 21   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
 22   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
 23   OpenText to acquire and retain customers for its software products in a market that is
 24   “highly competitive” and increasingly more competitive “as a result of ongoing
 25   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
 26   at 11 (Aug. 6, 2020 10-K); see also Exhibit C (2020.10.22 - Hyland completes
 27   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
 28   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
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  1   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
  2   Content Services Report 2020).) OpenText is an innovator in the market and has
  3   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
  4   such competition. Hyland’s infringing activities have resulted and will continue to
  5   result in irreparable harm to OpenText because of the competitive threat that Hyland—
  6   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
  7   “highly competitive” market, and the impact that Hyland’s infringing activities have on
  8   each one of OpenText’s four revenue streams. Further, public interest factors favor
  9   OpenText as the owner and assignee of government-issued patents, including the
 10   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
 11   knowledge in exchange for the patent protection that Hyland is now infringing.
 12         223. For past infringement, OpenText has suffered damages, including lost
 13   profits, as a result of Hyland’s infringement of the ’150 patent. Hyland is therefore
 14   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
 15   compensates OpenText for Hyland’s infringement, but no less than a reasonable
 16   royalty.
 17         224. OpenText is entitled to a preliminary injunction to maintain the status quo
 18   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
 19   of OpenText’s biggest competitors (see, e.g., Exhibit A (2020.09.09 - Hyland enters
 20   definitive agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland
 21   completes acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and
 22   Alfresco named Leaders in Content Services GMQ, hyland.com)), and is using
 23   OpenText’s patented technology to compete with OpenText in the ECM and EIM
 24   markets.
 25         225. For ongoing and future infringement, OpenText will continue to suffer
 26   irreparable harm, including without limitation, loss of market share, customers and/or
 27   convoyed sales and services which cannot be accurately quantified nor adequately
 28   compensated for by money damages, unless this Court preliminarily and permanently
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  1   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
  2   with Hyland from infringing the ’150 patent.
  3         226. In the alternative, OpenText is entitled to damages in lieu of an injunction,
  4   in an amount consistent with the facts, for future infringement. Hyland’s continued
  5   infringement, at least since it had notice of the ’150 patent, is knowing and willful.
  6   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
  7   infringement will be willful as a matter of law.
  8         227. Hyland’s infringement is without license or other authorization.
  9         228. This case is exceptional, entitling Plaintiffs to enhanced damages under 35
 10   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
 11   action under 35 U.S.C. § 285.
 12                                   SIXTH CAUSE OF ACTION
 13                           (INFRINGEMENT OF THE ’761 PATENT)
 14         229. Plaintiffs reallege and incorporate the preceding paragraphs of this
 15   complaint.
 16         230. Defendants have infringed and continue to infringe one or more claims of
 17   the ’761 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the
 18   United States and will continue to do so unless enjoined by this Court. The Accused
 19   Products, including features of the Alfresco Content Services, at least when used for
 20   their ordinary and customary purposes, practice each element of at least claim 24 of the
 21   ’761 Patent as described below.
 22         231. For example, claim 24 of the ’761 patent recites:
 23
 24                24. A method for providing an action flow definition, including:

 25               providing, to a client device, an action flow definition which
 26         includes a first association between a user interface page and a first state
            during which the user interface page is displayed and a second association
 27         between a business service associated with a content management server
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  1         and a second state during which the business service is performed on the
  2         content management server, wherein:

  3                      the action flow definition is agnostic with respect to user
  4               interface technology, on the client device, associated with
                  displaying; and
  5
  6                      the client device is configured to perform the action flow
                  definition, including by (1) displaying the user interface page during
  7               the first state based on the action flow definition provided to the
  8               client device by the front-end server and (2) triggering the business
                  service to be performed on the content management server during
  9               the second state based on the action flow definition provided to the
 10               client device by the front-end server; and
 11               performing, in response to the trigger from the client, the business
 12         service on the content management server.
 13
 14         232. The Accused Products perform the method of claim 24 of the ’761 Patent.

 15   To the extent the preamble is construed to be limiting, the Accused Products perform a
 16
      method for providing an action flow definition, as further explained below. For
 17
 18   example, the “Alfresco Content Services 6.2 (or ACS) offers full-featured Enterprise

 19   Content Management (ECM) for organizations” and “delivers a wide range of use cases
 20
      such as content and governance services, contextual search and insight, the ability to
 21
 22   easily integrate with other applications.” (See https://docs.alfresco.com/content-

 23   services/6.2/develop/repo-ext-points/repo-actions/; https://docs.alfresco.com/content-
 24
      services/6.2/develop/share-ext-points/form-processors/.)
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  5   (See https://docs.alfresco.com/content-services/6.2/)
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 19   (See https://docs.alfresco.com/content-services/6.2/develop/software-architecture/)
 20         233. The Accused Products perform a method that further includes providing,
 21   to a client device, an action flow definition which includes a first association between
 22   a user interface page and a first state during which the user interface page is displayed
 23   and a second association between a business service associated with a content
 24   management server and a second state during which the business service is performed
 25   on the content management server. For example, Alfresco Content Services comprises
 26   an Apache Tomcat application server that provides actions to a Custom Web Client.
 27   The actions “contain both a back-end part (business logic) and a front-end part (UI
 28   widgets).”    See     https://docs.alfresco.com/content-services/6.2/develop/software-
                                                 111
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  1   architecture/;          ttps://docs.alfresco.com/content-services/6.2/develop/software-
  2   architecture/;         https://docs.alfresco.com/content-services/6.2/develop/software-
  3   architecture/)
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      (See https://docs.alfresco.com/content-services/6.2/develop/software-architecture/)
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            234. In particular, the Accused Products implement two types of actions: UI
 21
      action and rule action. The UI action is “called from menu items in the Alfresco Share
 22
      user interface.” The rule action is used to describe “a discrete, reusable unit of work
 23
      that can be performed against an object in the repository and can optionally be
 24
      configured at run-time by the user,” where the repository stores content files and
 25
      implements services on a server.
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 13   (See https://docs.alfresco.com/content-services/6.2/develop/repo-ext-points/repo-
 14   actions/)
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 13   (See http://ecmarchitect.com/alfresco-developer-series-
 14   tutorials/actions/tutorial/tutorial.html)
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 21   (See                                   http://ecmarchitect.com/alfresco-developer-series-
 22   tutorials/actions/tutorial/tutorial.html)
 23          235. As another example, Alfresco Content Services includes an extension
 24   point named “Form Processors” that is used by a developed to “customize the Share
 25   web application in a supported way.” The Shared web application generates and
 26   displays a form template on Share user interface (UI). When a user inputs and submits
 27   form data, a business logic executes in the content repository for persisting the
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  1   submitted form data, creating, and updating “an item of a certain kind (for example,
  2   node, type, task) based on a form submission.”
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 14   (See https://docs.alfresco.com/content-services/6.2/develop/share-ext-points/)
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 23
      (See https://docs.alfresco.com/content-services/6.2/develop/share-ext-points/form-
 24
      processors/)
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 21   (See https://docs.alfresco.com/content-services/6.2/develop/share-ext-points/form-
 22   processors/)
 23         236. The Accused Products perform a method that further includes the action
 24   flow definition is agnostic with respect to user interface technology, on the client
 25   device, associated with displaying. As explained above, in Alfresco Content Services,
 26   an “action can contain both a back-end part (business logic) and a front-end part (UI
 27   widgets),” where the front-end part (UI widgets). Alfresco Content Services “offers a
 28   web-based client called Alfresco Share, built entirely with the web script technology.”
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  1   “Share gets the content that it should display in pages and dashlets by calling
  2   repository web scripts, which returns JSON or XML that can be incorporated into the
  3   presentation. The presentation is actually put together with two different kinds of
  4   JavaScript frameworks, Yahoo UI library (YUI) and Aikau, which is based on Dojo.”
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  9   (See        https://docs.alfresco.com/content-services/6.2/develop/repo-ext-points/repo-
 10   actions/)
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  1   (See                   https://docs.alfresco.com/content-services/6.2/develop/software-
  2   architecture/#web-ui-architecture)
  3          237. The Accused Products perform a method that further includes the client
  4   device is configured to perform the action flow definition, including by (1) displaying
  5   the user interface page during the first state based on the action flow definition provided
  6   to the client device by the front-end server and (2) triggering the business service to be
  7   performed on the content management server during the second state based on the
  8   action flow definition provided to the client device by the front-end server; and
  9   performing, in response to the trigger from the client, the business service on the content
 10   management server. As explained above, Alfresco Content Services “offers a web-
 11   based client called Alfresco Share, built entirely with the web script technology.”
 12   Alfresco Share generates and displays a form template on Share user interface (UI).
 13   When a user inputs and submits form data, a business logic is triggered to execute in
 14   the content repository for persisting the submitted form data, creating, and updating “an
 15   item of a certain kind (for example, node, type, task) based on a form submission.”
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 17   (See https://docs.alfresco.com/content-services/6.2/develop/share-ext-points/form-

 18   processors/)

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  1   (See https://docs.alfresco.com/content-services/6.2/develop/software-
  2   architecture/#web-ui-architecture)
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  7
      (See https://docs.alfresco.com/content-services/6.2/develop/software-
  8
      architecture/#sharearchitecture)
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      (See https://docs.alfresco.com/content-services/6.2/develop/repo-ext-points/repo-
 14
      actions/)
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  1   (See https://docs.alfresco.com/content-services/6.2/develop/repo-ext-points/repo-
  2   actions/)
  3         238. Hyland has known of the ’761 Patent since receiving a letter identifying
  4   the patent and the infringement on September 2, 2022. At the very least, Hyland has
  5   been aware of the ’761 patent and of its infringement based on the Accused Products
  6   since at least the filing and/or service of this Complaint. Further, OpenText marks its
  7   products with the ’761 patent.
  8         239. On information and belief, at least as of the filing of the Complaint in this
  9   action, Hyland has knowingly and actively induced and is knowingly and actively
 10   inducing at least its customers and partners to directly infringe at least claim 1 of the
 11   ’761 patent, and has done so with specific intent to induce infringement, and/or willful
 12   blindness to the possibility that its acts induce infringement, in violation of 35 U.S.C.
 13   § 271(b), by activities relating to selling, marketing, advertising, promoting, supporting,
 14   installing, and distributing its Accused Products in the United States. (Exhibit C
 15   (2020.10.22 - Hyland completes acquisition of Alfresco, alfresco.com), Exhibit D
 16   (2020.12.02 - Hyland and Alfresco named Leaders in Content Services GMQ,
 17   hyland.com).) On information and belief, those activities continue.
 18         240. On information and belief, Hyland deliberately and knowingly encourages,
 19   instructs, directs, and/or requires third parties—including its partners, customers, and/or
 20   end users—to use the Accused Products in a way that infringes at least claim 1 of the
 21   ’726 patent as described above.
 22         241. Hyland’s partners, customers, and end users of its Accused Products
 23   directly infringe at least claim 1 of the ’761 patent, at least by using the Accused
 24   Products, as described above.
 25         242. For example, on information and belief, Hyland knowingly and
 26   intentionally shares instructions, guides, and manuals, including through its website,
 27   training programs, and/or YouTube, which advertise and instruct third parties on how
 28   to use the Accused Products in a way that directly infringes at least claim 1 of the ’761
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  1   patent as described above, including at least Hyland’s customers.           On further
  2   information and belief, Hyland knowingly and intentionally provides customer service
  3   or technical support to purchasers of the infringing Accused Products, which directs and
  4   encourages Hyland’s customers to use the Accused Products in a way that directly
  5   infringes at least claim 1 of the ’761 patent as described above.
  6         243. On information and belief, the infringing actions of each customer and/or
  7   end-user of the Accused Products are attributable to Hyland.
  8         244. On information and belief, Hyland sells and offers for sale the Accused
  9   Products and provides technical support for the installation, implementation,
 10   integration, and ongoing operation of the Accused Products for each individual
 11   customer.    On information and belief, each customer enters into a contractual
 12   relationship with Hyland, which obligates each customer to perform certain actions as
 13   a condition to use the Accused Products. Further, in order to receive the benefit of
 14   Hyland’s continued technical support and its specialized knowledge and guidance of
 15   the operability of the Accused Products, each customer must continue to use the
 16   Accused Products in a way that infringes the ’761 patent. Further, as the entity that
 17   provides installation, implementation, and integration of the Accused Products in
 18   addition to ensuring the Accused Products remain operational for each customer
 19   through ongoing technical support, on information and belief, Hyland establishes the
 20   manner and timing of each customer’s performance of activities that infringe the ’761
 21   patent.
 22         245. On information and belief, Hyland forms a joint enterprise with its
 23   customers to engage in directly infringing the ’761 patent. On further information and
 24   belief, Hyland together with each customer operate under a contractual agreement; have
 25   a common purpose to operate the Accused Products in a way that directly infringes the
 26   ’761 patent as outlined in the paragraphs above; have pecuniary interests in operating
 27   the Accused Products by directly profiting from the sale and/or maintenance of the
 28   Accused Products or by indirectly profiting from the increased efficiency resulting from
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  1   use of the Accused Products; and have equal rights to a voice in the direction of the
  2   enterprise either by guiding and advising on the operation and capabilities of the
  3   Accused Products with product-specific know-how and expertise or by requesting that
  4   certain customer-specific capabilities be implemented in the Accused Products.
  5         246. Hyland also contributes to the infringement of its partners, customers, and
  6   end-users of the Accused Products by providing within the United States or importing
  7   the Accused Products into the United States, which are for use in practicing, and under
  8   normal operation practice, methods claimed in the Asserted Patents, constituting a
  9   material part of the inventions claimed, and not a staple article or commodity of
 10   commerce suitable for substantial non-infringing uses.
 11         247. Indeed, as shown above, the Accused Products have no substantial non-
 12   infringing uses because the accused functionality, including providing an action flow
 13   definition and related functionality described above, is an integral part of the Accused
 14   Products and must be performed for the Accused Products to perform their intended
 15   purpose. On information and belief, these processes cannot be removed or disabled (or,
 16   if they could, the system would no longer suitably function for its intended purpose).
 17   Moreover, for the same reasons, without performing each of the steps as described and
 18   shown above, or without the system and components identified above that practice the
 19   ’761 patent, that functionality could not be performed.
 20         248. Additionally, the accused functionality, including the implementation of
 21   action flow definitions and related functionality described above, itself has no
 22   substantial non-infringing uses because the components, modules and methods
 23   identified above are a necessary part of that functionality. Moreover, for the same
 24   reasons, without performing each of the steps as described and shown above, or without
 25   the system and components identified above that practice the ’761 Patent, that
 26   functionality could not be performed.
 27         249. In addition, as shown in the detailed analysis above, the products, systems,
 28   modules, and methods provided by Hyland constitute a material part of the invention—
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  1   indeed, they provide all the components, modules, and features that perform the claimed
  2   methods and systems. For example, the Accused Products and accused functionalities
  3   (including the action flow functionality) constitute a material part of the inventions
  4   claimed because such functionality is integral to the processes identified above (such as
  5   “providing, to a client device, an action flow definition which includes a first association
  6   between a user interface page and a first state during which the user interface page is
  7   displayed and a second association between a business service associated with a content
  8   management server and a second state during which the business service is performed
  9   on the content management server”) as recited in the claims of the ’761 Patent. None of
 10   these products are staple goods—they are sophisticated and customized ECM products,
 11   methods, and systems.
 12         250. OpenText “consists of four revenue streams: license, cloud services and
 13   subscriptions, customer support, and professional service and other.” (Exhibit A at 9-
 14   10 (Aug. 6, 2020 10-K).) Each revenue stream relates directly to the ability of
 15   OpenText to acquire and retain customers for its software products in a market that is
 16   “highly competitive” and increasingly more competitive “as a result of ongoing
 17   software industry consolidation,” such as Hyland’s acquisition of Alfresco. (Exhibit A
 18   at 11 (Aug. 6, 2020 10-K); see also Exhibit C_ (2020.10.22 - Hyland completes
 19   acquisition of Alfresco, alfresco.com); Exhibit D (2020.12.02 - Hyland and Alfresco
 20   named Leaders in Content Services GMQ, hyland.com); Exhibit F at 4 (“The Forrester
 21   Wave: ECM Content Platforms, Q3 2019”); Exhibit E at 3 (2020.11.16 - Gartner
 22   Content Services Report 2020).) OpenText is an innovator in the market and has
 23   acquired multiple patents, including the Patents-in-Suit, to give it an advantage over
 24   such competition. Hyland’s infringing activities have resulted and will continue to
 25   result in irreparable harm to OpenText because of the competitive threat that Hyland—
 26   including Hyland’s acquisition of Alfresco—has to OpenText’s share of the relevant
 27   “highly competitive” market, and the impact that Hyland’s infringing activities have on
 28   each one of OpenText’s four revenue streams. Further, public interest factors favor
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  1   OpenText as the owner and assignee of government-issued patents, including the
  2   Patents-in-Suit, that serve to recognize OpenText’s innovative contribution to the public
  3   knowledge in exchange for the patent protection that Hyland is now infringing.
  4         251. For past infringement, OpenText has suffered damages, including lost
  5   profits, as a result of Hyland’s infringement of the ’761 patent. Hyland is therefore
  6   liable to OpenText under 35 U.S.C. § 284 for past damages in an amount that adequately
  7   compensates OpenText for Hyland’s infringement, but no less than a reasonable
  8   royalty.
  9         252. OpenText is entitled to a preliminary injunction to maintain the status quo
 10   between OpenText and Hyland, which, through its acquisition of Alfresco, is now one
 11   of OpenText’s biggest competitors (see, e.g., Exhibit B (2020.09.09 - Hyland enters
 12   definitive agreement to acquire Alfresco, hyland.com), Exhibit C (2020.10.22 - Hyland
 13   completes acquisition of Alfresco, alfresco.com), Exhibit D (2020.12.02 - Hyland and
 14   Alfresco named Leaders in Content Services GMQ, hyland.com)), and is using
 15   OpenText’s patented technology to compete with OpenText in the ECM and EIM
 16   markets.
 17         253. For ongoing and future infringement, OpenText will continue to suffer
 18   irreparable harm, including without limitation, loss of market share, customers and/or
 19   convoyed sales and services which cannot be accurately quantified nor adequately
 20   compensated for by money damages, unless this Court preliminarily and permanently
 21   enjoins Hyland, its agents, employees, representatives, and all others acting in concert
 22   with Hyland from infringing the ’761 patent.
 23         254. In the alternative, OpenText is entitled to damages in lieu of an injunction,
 24   in an amount consistent with the facts, for future infringement. Hyland’s continued
 25   infringement, at least since it had notice of the ’761 patent, is knowing and willful.
 26   Hyland will be an adjudicated infringer of a valid patent and, thus, Hyland’s future
 27   infringement will be willful as a matter of law.
 28         255. Hyland’s infringement is without license or other authorization.
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  1         256. This case is exceptional, entitling Plaintiffs to enhanced damages under 35
  2   U.S.C. § 284 and an award of attorneys’ fees and costs incurred in prosecuting this
  3   action under 35 U.S.C. § 285.
  4                                   PRAYER FOR RELIEF
  5         WHEREFORE, Plaintiffs respectfully requests the following relief:
  6                a)     That this Court adjudge and decree that Defendant has been, and is
  7   currently, infringing each of the Patents-in-Suit;
  8                b)     That this Court award damages to Plaintiffs to compensate them for
  9   Defendant’s past infringement of the Patents-in-Suit, through the date of trial in this
 10   action;
 11                c)     That this Court award pre- and post-judgment interest on such
 12   damages to Plaintiffs;
 13                d)     That this Court order an accounting of damages incurred by
 14   Plaintiffs from six years prior to the date this lawsuit was filed through the entry of a
 15   final, non-appealable judgment;
 16                e)     That this Court determine that this patent infringement case is
 17   exceptional pursuant to 35 U.S.C. §§ 284 and 285 and award Plaintiffs their costs and
 18   attorneys’ fees incurred in this action;
 19                f)     That this Court award increased damages under 35 U.S.C. § 284;
 20                g)     That this Court preliminarily and permanently enjoin Defendant
 21   from infringing any of the Patents-in-Suit;
 22                h)     That this Court order Defendant to:
 23                       (i)           recall and collect from all persons and entities that have
 24         purchased any and all products found to infringe any of the Patents-in-Suit that
 25         were made, offered for sale, sold, or otherwise distributed in the United States by
 26         Defendant or anyone acting on its behalf;
 27                       (ii) destroy or deliver to OpenText all such infringing products;
 28                       (iii) revoke all licenses to all such infringing products;
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  1                     (iv) disable all web pages offering or advertising all such infringing
  2         products;
  3                     (v) destroy all other marketing materials relating to all such
  4         infringing products;
  5                     (vi) disable all applications providing access to all such infringing
  6         software; and
  7                     (vii) destroy all infringing software that exists on hosted systems;
  8               i)    That this Court, if it declines to enjoin Defendant from infringing
  9   any of the Patents-in-Suit, award damages for future infringement in lieu of an
 10   injunction; and
 11               j) That this award such other relief as the Court deems just and proper.
 12
 13   DATED: September 2, 2022                KING & SPALDING LLP
 14
 15                                           By: /s/Joseph N. Akrotirianakis
 16                                               JOSEPH N. AKROTIRIANAKIS

 17                                                Attorney for Plaintiffs OPEN TEXT
 18                                                CORPORATION, OPEN TEXT SA ULC,
                                                   and OPEN TEXT HOLDINGS INC.
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  1                              DEMAND FOR JURY TRIAL
  2         OpenText respectfully requests a trial by jury on all issues triable thereby.
  3   DATED: September 2, 2022               KING & SPALDING LLP
  4
  5                                  By:     /s/ Joseph N. Akrotirianakis
  6                                          JOSEPH N. AKROTIRIANAKIS

  7                                        Attorney for Plaintiffs OPEN TEXT
  8                                        CORPORATION, OPEN TEXT SA ULC, and
                                           OPEN TEXT HOLDINGS INC.
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